Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.1 Page1of 71

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

EDWARD BARTER and
ALANA BARTER,

Plaintiffs,

U.S.D.C. #
VS.

Hon.

 

US BANK, N.A.,
AMERICA’S SERVICING COMPANY,
Lower Case No. 10-108456-CH

 

Defendants.
Jeffrey H. Bigelman (P61755) Matthew J. Boettcher (P40929)
OSIPOV BIGELMAN, P.C. PLUNKETT COONEY
Attorneys for Plaintiffs Attorneys for Defendants
20700 Civic Center Drive, 38505 Woodward Ave., Suite 2000
Suite 310 Bloomfield Hills, MI 48304
Southfield, MI 48076 (248) 901-4035
(248) 663-1800 (248) 901-4040 - fax
(248) 663-1801 —- fax mboettcher@plunkettcooney.com

 

jhb@osbig.com

 

NOTICE OF FILING REMOVAL
NOTICE OF REMOVAL TO FEDERAL COURT
VERIFICATION
PROOF OF SERVICE
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.2 Page 2 of 71

PLUNKETT COONEY

By:/s/ Mathew J. Boettcher
Matthew J, Boettcher (P40929)
Attorneys for Defendants
Plunkett Cooney
38505 Woodward Ave,

Suite 2000
Bloomfield Hills, MI 48304
248-901-4035
mboettcher@plunkettcooney.com
P40929

DATED: April 13, 2010
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.3 Page 3 of 71

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF OAKLAND
EDWARD BARTER and

ALANA BARTER, Case No. 10-108456-CH
Hon. Martha D. Anderson

 

Plaintiffs,
VS.
US BANK, N.A.,
AMERICA’S SERVICING COMPANY,
Defendants.
Jeffrey H. Bigelman (P61755) Matthew J. Boettcher (P40929)
OSIPOV BIGELMAN, P.C. PLUNKETT COONEY
Attorneys for Plaintiffs Attorneys for Defendants
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(248) 663-1800 (248) 901-4040 - fax
(248) 663-1801 - fax mboettcher@piunkettcooney.com

 

jhb@osbig.com

 

NOTICE OF FILING REMOVAL
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.4 Page 4 of 71

TO:

Jeffrey H. Bigelman (P61755)
OSIPOV BIGELMAN, P.C.
Attorneys for Plaintiffs

20700 Civic Center Drive,
Suite 310

Southfield, MI 48076

(248) 663-1800

(248) 663-1801 - fax
jhb@osbig.com

Clerk of the Court

Oakland County Circuit Court
Courthouse Tower

1200 North Telegraph Road
Pontiac, MI 48341-0404

PLEASE TAKE NOTICE THAT Defendants, US BANK, N.A. and

AMERICA’S SERVICING COMPANY (“Defendants”), have this day, filed a

Notice of Removal, a copy of which is attached hereto, in the offices of

the Clerk of the United States District Court, Eastern District of Michigan,

Southern Division.

Dated: April 13, 2010

Respectfully submitted,
PLUNKETT COONEY

By:/s/Matthew J. Boettcher
Matthew J. Boettcher (P40929)
Attorneys for Defendants
38505 Woodward Avenue
Suite 2000
Bloomfield Hills, MI 48304
(248) 901-4035
Email: mboettcher@plunkettcooney.com
P40929
7

Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.5 Page 5of 71

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

EDWARD BARTER and
ALANA BARTER,

Plaintiffs,

U.S.D.C. #
VS.

Hon.

 

US BANK, N.A.,
AMERICA’S SERVICING COMPANY,
Lower Case No. 10-108456-CH

 

Defendants.
Jeffrey H. Bigelman (P61755) Matthew J. Boettcher (P40929)
OSIPOV BIGELMAN, P.C. PLUNKETT COONEY
Attorneys for Plaintiffs Attorneys for Defendants
20700 Civic Center Drive, 38505 Woodward Ave., Suite 2000
Suite 310 Bloomfield Hills, MI 48304
Southfield, MI 48076 (248) 901-4035
(248) 663-1800 (248) 901-4040 - fax
(248) 663-1801 —- fax mboettcher@plunkettcooney.com

 

jhb@osbig.com

 

NOTICE OF REMOVAL TO FEDERAL COURT
TO: Clerk of the Court
Jeffrey H. Bigelman, Esq.
Attorneys for Plaintiff
Defendants, US BANK, N.A. and AMERICA’S SERVICING COMPANY
(“Defendants”), by their attorneys, Plunkett Cooney, remove this action
from the Oakland County Circuit Court to the United States District Court

for the Eastern District of Michigan, Southern Division. In support of this

Notice of Removal, Defendants state:
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.6 Page 6 of 71

1. On or about March 11, 2010, this action was commenced
against Defendants in the Oakland County Circuit Court.

2. On April 5, 2010, America’s Servicing Company was served
with the Summons and Complaint, copies of which are attached as
Exhibit A.

3. Upon information and belief, US Bank, N.A. has not yet been
served with the Summons and Complaint.

4, The Oakland County Circuit Court docket for this case
demonstrates that (i) no returns of service have been filed for any
Defendant. A copy of the Oakland County docket is attached as Exhibit
B.

5. Given the date of service on America’s Servicing Company,
this removal is being filed within 30 days of the service of this action and
is, therefore, timely.

6. The documents attached as Exhibit A constitute all process,

pleadings and orders received by Defendants and/or otherwise of record

in this action.

7. This action involves a controversy that is wholly between
citizens of different states under 28 U.S.C. § 1332.

8. When this action was filed and removed, Plaintiffs were

citizens of the State of Michigan. See, Plaintiffs’ Complaint at q 4.
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.7 Page 7 of 71

9. Defendant, America’s Servicing Company, is an assumed
name of Wells Fargo Home Mortgage, Inc., a division of Wells Fargo Bank,
N.A. Wells Fargo Bank, N.A., is chartered in South Dakota. As such that
is where its main office is located, and thus for diversity it is a citizen of
South Dakota. See, Wachovia Bank v. Schmidt, 546 U.S. 303, 126 S.Ct.
941 (2006).

10. Defendant, US Bank, N.A. is chartered in Ohio and has its
main office in Cincinnati, Ohio. For diversity purposed, US Bank, N.A. is a
citizen of Ohio.

1i. Plaintiffs are alleging, inter alia, that Defendants wrongfully
commenced foreclosure proceedings following Plaintiffs’ undisputed
default on a mortgage loan. See, Complaint at § 3. The property
securing the mortgage loan was sold at a sheriff’s sale with a high bid
price of $313,000. See, Exhibit L to the Complaint. Plaintiffs seek to
rescind the sheriff’s deed and sale. If Plaintiffs’ prayer for relief is
granted, US Bank will be divested of title to the property that is the
subject of this action. Thus, the amount in controversy in this action
exceeds $75,000, exclusive of interests and costs.

12. A Notice of Filing Notice of Removal! to Federal Court and a
copy of this Notice of Removal of Civil Action will be filed promptly with

the Oakland County Circuit Court as required by 28 U.S.C. § 1446(d) and
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.8 Page 8 of 71

copies of the same have been served upon Plaintiffs’ counsel as verified
by the attached proof of service.

i3. Based upon the foregoing, Defendants are entitled to remove

this action to this Court under 28 U.S.C. § 1441, et seq.

WHEREFORE, Defendants request that this Court take jurisdiction

over this action and grant such other relief as the Court deems proper.

Respectfully submitted,

PLUNKETT COONEY

By:/s/Matthew J. Boettcher
Matthew J. Boettcher (P40929)
Attorneys for Defendants
38505 Woodward Avenue
Suite 2000
Bloomfield Hills, MI 48304
(248) 901-4035

Email: mboettcher@plunkettcooney.com
P40929

Dated: April 13, 2010
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.9 Page 9 of 71

Exhibit A
“Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10

CSC.

«

CORPORATION SERVECE COMPANY

Notice of Service of Process

PagelD.10 Page 10 of 71

KZS / ALL
Transmittal Number: 7540430
Date Processed: 04/06/2010

 

Primary Contact:

Diana Benda - WFHM

Wells Farge, Inc.
800 Walnut Street
Des Moines, IA 50309

 

Entity:

Entity Served:

Fitle of Action:
Document(s) Type:
Nature of Action:
Court:

Case Number:
Jurisdiction Served:
Date Served on CSC;
Answer or Appearance Due:
Originally Served On:
How Served:

Sender Information:

America’s Servicing Company
Entity ID Number 1901284

America's Servicing Company
Edward Barter vs. US Bank, N.A.
Summens/Complaint

Contract

Oakland County Circuit Court, Michigan
10-108456-CH

Michigan

04/03/2010

28 Days

csc

Certified Mail

Jeffrey H. Bigelman
248-663-1800

 

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the dacuments and taking appropriate action.

To avoid potential delay, please do not send your response to CSC

CSC is SAS70 Type i! certified for its Litigation Management System.
2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 } sop@cscinfo.com
“Case 2'10-¢v-11476-DPH-RSW “ECF No.1" filed 04/13/10 ~ PagelD.11"" "Page 1t of 71

Approved, SCAO - Originat- Court and copy - Plaintiff

 

 

 

 

 

 

 

 

. . tst copy - Defendant :
STATE OF MICHIGAN com” 10-108456-CH
. JUDICLAL DISTRICT
cd cnt oncur|. SumMONsaNDcompuawr | Fa
COUNTY PROBATE JUDGE ma
. RTHA D. ANDE =

Court address -_ BARTER.EDWARD y us Bank *
Oakland County Circuit Court, 1200 N. Telegraph Rd., Pontiac, MI 48341-0404 (248) 858-0349 NA

Plaintif's name(s), address(es), and telephone no(s). . | Défendant’s name(s), address(es), and telephone nojs).

Edward and Alana Barter v US Bank, N.A.

c/o Plaintiffs’ attorney below . c/o United States National Btc.

; 425 Wainut Street

Cincinnati, OH 45202

 

Plaintiff's aitomey, bar no., address, and telephone no.

: America's Servicing Company.
Jeffrey H. Bigelman (P61755) : : a
20700 Civic Center Drive, Svite310. PEO aera ers Incorporating Service (Company)
Southfield, MI 48076 . . East Lansing MI 48823
Phone: 248-663-1800 / Fax: 248-663-1801 ,

 

 

 

 

E-mail: jhb @osbig.com

 

 

NOTICE TO THE DEFENDANT: In the name ‘of the people of the State of Michigan you are notified:

1. You are being sued. . : -

2.. YOU HAVE 21 DAYS after receiving this summons to file a written answer with the court and serve a copy on the other party
ortake other lawful action with the court (28 daysif you were served by mail or youwereserved outside this state). @icrR2.114[Cp
3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief demanded
in the complaint. .

moni 4 '

 

    

 

 

 

 

 

Gurt clerk . . ;
| me RUTH IOHNSOR
“This summons is invalid unless served on of before ils expiration date.

This document must be sealed by the seal of the court.

Instruction: The following is information that is required to be In the caption ofevery complaint and fs to be completed
by the plaintiff. Actual allegations and the claim for relief must be stated on additional complaint pages and attached fo this form.
Family Division Cases no
C] Thereisno other pending orresolved action within the jurisdiction of the family division of circuit court involving the family or family

members of the parties.

{1 An action within the jurisdiction of the family division of the circuit court involving the family or family members of the parties has

 

been previously filed in : Court
The action (lremains Cis no tonger pending. The docket number and the judge assigned to the action are:

 

Decket no. Judge . . Bar no.

 

 

 

 

General Civil Cases

There Isno other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint. ,
L] A civil action between these parties or other parties ansing out of the transaction or occurrence alleged in the complaint has
been previously filed in ‘ Court.

The action [remains Cis no longer pending. The docket number and the judge assigned to the action are:

 

Docket no. . : Judge : Bar no.

 

 

VENUE

Piaintifi(s) residence (include city, township, or village) Defendant(s) residence (include cily, township, or village)
2309 Solano Dr., Wolverine Lake, MI 48390 (Qakland County) “California and Ohio (both doing business in Michigan)

Place where action arose or business conducted
Oakland County, Michigan

 

 

 

 

 

03/10/2010 ZX. Actan A, Fodlu ( P7327)
Date Signature of atlomeyiplantiit J *

ifyou require special accommodations to use the court because ofa disability or if you require a foreign language interpreter to help
you fully participate In court proceedings, please contact the court immediately to make arrangements.

mc 01 (3/08) SUMMONS AND COMPLAINT = MCR 2.102(B)(11), MCR 2.104, MCR 2.105, MCR 2.107, MCR 2.113(C}{2)(a), {b), MCR 3.2084)

 
"Case 2:10-cv-11476- RRA REVO MICHIGAN 04/13/10 PagelD.12 Page 12 of 71; :

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. IN THE SIXTH JUDICIAL. CIRCUIT COURT :
| 8 Gage No cans 49.4 084562CH |
oe: —TINth

: oe . - ne . . JUDGE 2 es JUDGE MARTHA D. ANDERSON
DEFENDANT. fi . BARTEREDWARD v US BANK NA

' NOTICE.OF MANDATORY EFILING
- At asession of said Court held in the -
Sixth Judicial Cireuit Court for the.
- “County of Oakland in ‘Pontiac, Michigan - -

- Pursuant to Supreme Court Administrative Order 2007-3, Electronic Document Filing Pilot Project, the
- above captioned case has been ordered into the Sixth Circuit Court's Mandatory Efiling Pilot Project.
. -'s Subject tothe provisions.of ‘Administrative Order 2007 —3, found at ,

 

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immediately all filings must be made electronically through the Wiznet E-File & Serve-efiling tool. 2. +220 5
(E-File & Serve). Firms must register to usé the system. Documents not submitted in compliance: -
_ with this notice (incleding documents submitted in the traditional manner) will be-rejected.
- PLAINTIEF IS RESPONSIBLE FOR SERVING A COPY OF THIS NOTICE WITH THE
| SUMMONS AND COMPLAINT ON ATI. OPPOSING PARTIES. Note: in addition, Staff attorneys .

will require a hard-copy of Motions for Summary. Disposition and Briefs,in Support.

_ Additionally, the judges will issne orders electronically. Parties who fail to register as a Service
Contact will not receive a copy .of any orders created by the Court and must obtain them from the
County Clerk's Office ata cost of $1.00 per page or another party. Neither the Court nor the

“County Clerk will provide free copies-of orders or other electronically filed documents toa party

yas that fails to register. with the E-file & Serve system. - © ~.*. a
. - LeTyaining oniE-File-& Serve is offered at the Gakland-County Courthouse, as well as-online, Fortimes and =.

-* dates of in-person training go. to h html
OF teleconference training through Wiznet orto address other questions regarding E-File-& Serve, please

_ contact Wiznet at 800 297-5377 or Suppori@rwimetcom.

. Circuit Court Judges re Sot

" Judge Martha D. Anderson | = -o + Judge Rudy Nichols
Judge Mark A.Goldsmith =. °° = Judge Colleen-A. O’Brien.

Judge NanciJ.Grant 2 _°. Judge Wendy Potts oe
Judgé ShalinaD.Kumar~  .- Judge Michael Warren

‘Judge Shalina D. Kumar will begin eFiling March 1, 2010

urww.oakzov.com/clerkrad/efiling/index.htmlT o:obtain oneline” =“) we
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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.13 Page 13 of 71

RECEIVED FOR FILING
_ STATE OR MICHIGAN
KLAND COUNTY CIRCUIT COURT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ZUIQHAR i) AM 9:25
MLANABARTER oa
Michigan residents, GEPUTY COUNTY CLERK gaan i Ht
Plaintiffs, Case No. ___baatensowane v “US BANK NA
Hon.
Vv.
US BANK, N.A., and

AMERICA’S SERVICING COMPANY,

Corporations doing business in Michigan,

Defendants.

 

OSIPOV BIGELMAN, P.C.
JEFFREY H. BIGELMAN (P61755)
Attomeys for Plaintiff

20700 Civic Center Drive, Suite 310
Southfield, MI 48076

Phone: 248-663-1800

Fax: 248-663-1801

E-mail: jhb@osbig.com

 

VERIFIED COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

There is no other civil action between these parties
arising out of the same transaction or occurrence as
alleged in this Complaint pending in this Court, nor

_has any such action been previously filed and
dismissed or transferred after having been assigned to
a judge, nor do I know of any other civil action not
between these parties arising out of the same
transaction or occurrence as alleged in this Complaint
that is either pending or was previously filed and
dismissed, transferred, or otherwise disposed of after
having been assigned to a judge in this Court.

———

Page 1 of 14

“Jeffrdy H. Bigelman, Esq.
» Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.14 Page 14 of 71

+

NOW COMES, Edward and Alana Barter, by and through their attomeys, OSIPOV
BIGELMAN, P.C., and complain as follows against the Defendants:
JURISDICTION
L. Jurisdiction in this case is proper pursuant to MCL 600.605.
2. Venue in this case is proper pursuant to MCL 600.1605.
GENERAL ALLEGATIONS

3. This case involves mortgage lender abuse, resulting in the wrongful foreclosure of
Plaintiffs’ home. Plaintiffs were instructed not to pay further monthly payments or arrears upon
successful completion of their Forbearance Agreement pending approval of a loan modification.
Defendant America’s Servicing Company (“ASC”), however, failed to act properly on the loan
modification. Instead, while simultaneously reassuring Plaintiffs that their modification was
being processed, ASC had sent Plaintiffs’ home into foreclosure. Plaintiffs never received notice
of the date on which the foreclosure sale took place. Plaintiffs bring this action to rescind the
foreclosure sale and for other relief that this Court deems equitable and just.

PARTIES

4, Plaintiffs are a married couple who have been deprived of their legal right to
receive proper notice of a foreclosure sale on their primary residence located in Oakland County,
at 2309 Solano Drive, Wolverine Lake, Michigan 48390.

5. As of June 22, 2009, Defendant US Bank, N.A., was the holder of the mortgage
on Plaintiffs’ property, as successor Trustee to Bank of America, National Association,
(successor by merger to LaSalle Bank National Association) as Trustee for Morgan Stanley
Mortgage Loan Trust 2006-7 by assignment. Defendant US Bank, N.A., is a corporation doing

business in Michigan, and with its principal place of business in Ohio.

Page 2 of 14
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.15 Page 15 of 71

*

6. Defendant ASC is Plaintiffs’ mortgage servicer, a corporation doing business in

Michigan, and with its principal place of business in California.
STATEMENT OF FACTS

7. On or about January 9, 2009, Plaintiffs contacted ASC explaining their difficulty
in paying their mortgage due to decreased income, and serious medical conditions such as
prostate cancer, surgery, rehabilitation, and further cancer related therapy. Thereafter, ASC sent
Plaintiffs a letter outlining the options they have regarding the mortgage. The letter contained

‘ information about a loan modification and relevant forms. See attached Exhibit A.

8. On or about March 3, 2009, Plaintiffs submitted a Hardship Letter and other
information ASC requested regarding their financial affairs. See attached Exhibit B. These
documents were submitted to ASC’s Loss Mitigation Department.

9. Plaintiffs requested a 4-month payment moratorium and subsequent loan
modification. See attached Exhibit B.

10. On or about March 23, 2009, Plaintiffs corresponded with ASC via telephone,
confirming ASC was in receipt of the 4-month moratorium request and other loan modification
documents.

11. ‘ASC requested further information in a letter dated on or about March 23, 2009;
said letter required the information to be submitted by April 7, 2009. See attached Exhibit C.

12. Plaintiffs timely responded to the March 23, 2009, letter via facsimile on April 2,
2009.

13. On or about April 27, 2009, Plaintiffs corresponded with ASC via telephone to
get a status update. ASC stated that the loan modification process began on March 25, 2009, and

that Plaintiffs would be contacted by the end of May.

Page 3 of 14
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.16 Page 16 of 71

*

14. = During the April 27, 2009, telephone conversation, ASC assured Plaintiffs that the
home would not be put into foreclosure while the loan modification review was in process.

5. On or about June 3, 2009, Plaintiffs corresponded with ASC via telephone and
were instructed that the loan modification was still being reviewed.

16. On or about June 10, 2009, Plaintiffs provided ASC with an updated and
corrected financial worksheet indicating less income and the market value of Plaintiffs’ home.
See attached Exhibit D.

17. ' On or about June 16, 2009, ASC sent Plaintiffs a letter offering a Forbearance
Agreement. See attached Exhibit E.

18. The Plaintiffs signed and returned the Forbearance Agreement with the first of 3
regular payments to be made beginning on August 1, 2009, and thereafter on September 1, 2009,
and October 1, 2009.

19. The Plaintiffs timely made all three of the payments outlined in paragraph 18
above.

20. On June 16, 2009, the parties entered into a Forbearance Agreement which stated
that upon successful completion of the August, September, and October payments, the loan
‘would be reviewed for a loan modification. See attached Exhibit E.

21. On June 22, 2009, Plaintiffs received a Notice of Foreclosure. See attached
Exhibit F.

22. On or about June 22, 2009, Plaintiffs received a letter from Orlans Associates,
P.C. (“Orlans”), that was dated June 16, 2009. The letter stated that Orlans had been retained by
ASC to start foreclosure proceedings. There was an Affidavit of Posting placed at Plaintiffs”

home. See attached Exhibit G.

Page 4 of 14
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.17 Page 17 of 71

23. Plaintiffs called ASC and ASC indicated that the foreclosure process, with the
sale date scheduled for July 21, 2009, should not have commenced while the mortgage was in the
loan modification stages, nor should it have been commenced while the June 16, 2009,
Forbearance Agreement was in effect.

24. —_ ASC told Plaintiffs that it would advise Orlans not to proceed with the foreclosure
process.

25. To ensure that the foreclosure proceedings and notice were made in error and that
ASC would in fact communicate this fact te Orlans, Plaintiffs called Orlans on or about June 22,
2009. |

26. Plaintiffs spoke with an Orlans representative and advised that ASC said the
foreclosure and July 21, 2009, sale should not have been initiated since the mortgage was in the
middle of a loan modification and Forbearance Agreement.

27, Orlans stated that it would check with ASC to confirm, and thereafter cease
actions regarding the erroneous foreclosure process.

28. On or about October 6, 2009, Plaintiffs called ASC to get a status update. ASC
stated that they wanted Plaintiffs to submit an updated hardship letter and financial worksheets,
in addition to an updated income statement, pension document, bank statements, pay stubs, and
other miscellaneous documentation. |

29, During this October 6, 2009, telephone conversation, ASC assured Plaintiffs that
the foreclosure process would not proceed while in loan modification review. In fact,
Defendants instructed Plaintiffs not to make the last payment of the Forbearance Agreement

because the loan modification was in process.

Page 5 of 14
« Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.18 Page 18 of 71

30. Plaintiffs gathered the requested documents and sent them to ASC via facsimile
on October 24, 2009. See attached Exhibit H.

31. On or about November 5, 2009, Plaintiffs sent additional income and profit/loss
statements that ASC had requested.

32. On or about November 18 or 19, Mr. Barter called ASC to get a status update.
ASC stated that the loan modification request had been rejected because Plaintiffs failed to
submit a requested document.

33. | ASC was unable to inform Mr. Barter which document or piece of requested —
information was missing. ASC indicated that Plaintiffs must have failed to return a phone call.

34. The only phone message Plaintiffs recetved from an ASC representative was
returned the following day.

35. Plaintiffs inquired about how to get the loan modification back on track and were
instructed that they would have to start over.

36. On or about November 22, 2009, Plaintiffs received a letter dated November 16,
2009, from ASC Senior Vice President Ben Windust. The letter stated that ASC was “unable to
‘adjust the terms of your mortgage . . . because you did not provide us with all of the information
needed within the time frame required per your trial modification period workout plan.” See
attached Exhibit I. |

37. The November 22, 2009, letter made no mention of any foreclosure proceedings.

38. On or about November 30, 2009, Plaintiffs reassembled all previously submitted
information, updated accordingly, and submitted said information along with a letter written to
ASC Senior Vice President protesting the loan modification rejection and questioning ASC’s

good faith. These documents were sent via facsimile. See attached Exhibit J.

Page 6 of 14
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.19 Page 19 of 71

39. On or about December 23, 2009, ASC sent Plaintiffs a ietter acknowledging
receipt of Plaintiffs’ November 30, 2009, correspondence. ASC’s letter advised that Plaintiffs’
request for review would be completed within 60 days. See attached Exhibit K.

40. On or about January 21, 2010, Plaintiffs called ASC to get a status update of the
loan modification. ASC informed Plaintiffs that their home had been sold at foreclosure on
December 8, 2009.

41. On or about January 21, 2010, Plaintiffs called Orlans, which confirmed that
Plaintiffs’ home was sold at foreclosure on December 8, 2009, with a redemption date of
December 8, 2010.

42. The purchaser of the home, as recorded, is US Bank, N.A.

43. During the January 21, 2010, telephone conversation with Orlans, Plaintiffs were
informed that Orlans received the initiation of the foreclosure procedure from ASC in or around
June 2009, with the original sale date being July 21, 2009. Orlans stated that it was on
November 23, 2009, that ASC instructed Orlans to proceed with foreclosure on December 8,
2009.

44. _— Plaintiffs requested a copy of the foreclosure notice, and Orlans sent via facsimile,
the erroneous Affidavit of Posting dated June 22, 2009. This Affidavit is the same one that ASC

- assured Plaintiffs was posted in error. See attached Exhibit F.
'45. Plaintiffs never received notice of a postponed foreclosure sale, nor any
information regarding the sale that took place on December 8, 2009. See attached Exhibit L.

46. Onor about January 23, 2010, Plaintiffs received a letter dated January 12, 2010,

from ASC acknowledging review of Plaintiffs’ November 29, 2009, submission of information

and documents.

Page 7 of 14
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.20 Page 20 of 71

47. The January 12, 2010, letter stated that the foreclosure action was proper and that
Plaintiffs’ request for rescission of the foreclosure sale was rejected. See attached Exhibit M.
However, as of January 12, 2010, Plaintiffs had not yet requested a rescission of the foreclosure
sale.

COUNT I - BREACH OF COVENANT OF
GOOD FAITH AND FAIR DEALING

48. Plaintiffs incorporate the preceding paragraphs by reference.

49. Defendants had a duty of good faith and fair dealing implied in the contract |
between them and the Plaintiffs. Neither party shall do anything that will have the effect of
destroying or injuring the right of the other party to receive the benefit of the contract.

50. Defendants breached their duty by: |

a. Instructing Plaintiffs that no foreclosure proceeding was in place since

Plaintiffs were going through a loan modification and had a pending Forbearance

Agreement.

b. Assuring Plaintiffs that ASC was working out a loan modification for up
to and after the date that the foreclosure sale actually took place.

| Failing to provide a loan modification for Plaintiffs, despite reassurances,
and instead scheduling and effecting the sale of Plaintiffs’ home; and

d. Undertaking action to foreclose on Plaintiffs’ home without providing
them with an opportunity to prevent the improper foreclosure, i.e., lack of notice of the
foreclosure sale.

51. Defendants’ breach of their duty of good faith was intentional, wanton and/or

reckless.

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32. Plaintiffs have been damaged as a proximate result of Defendants’ breach of their
duty of good faith and fair dealing.

WHEREFORE, Plaintiffs respectfully request the following relief:

(a) Appropriate equitable relief; specifically, rescission of the foreclosure sale, as
there is no adequate remedy at law, and this is the only remedy that will afford complete and
meaningful relief to the Plaintiffs;

(b) An injunction preventing Defendants from taking possession or proceeding with
eviction procedures;

{c) The Court declare that the Defendants breached their duty of good faith as
alleged;

(d) Actual and punitive damages;

(e) Reasonable attorney’s fees and the costs of this litigation; and

(f) Such other relief as the Court deems equitable and just.

COUNT IL - FRAUD

53. Plaintiffs incorporate the preceding paragraphs by reference.

24. Defendants represented to Plaintiffs on multiple occasions that ASC was working
to provide them with a loan modification, that they were abiding by the Forbearance Agreement,
and that their house was not being foreclosed upon while the loan modification processed and
forbearance was in effect.

25. Defendants’ representations were false, as they noticed the foreclosure I day after
entering into the Forbearance Agreement.

56. Defendants’ misrepresentations to Plaintiff were knowing, reckless, and/or

intentional.

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.22 Page 22 of 71

57. Defendants’ misrepresentations were material.

58. Plaintiffs relied on Defendants’ misrepresentations and timely followed all of
ASC’s instructions.

59. Defendants intentionally foreclosed on Plaintiffs’ property without notice despite
reassurances that this would not occur during the loan modification process.

60. Plaintiffs’ reliance on Defendants’ misrepresentations was thus te their detriment.

WHEREFORE, Plaintiffs respectfully request the following relief:

(a) Appropriate equitable relief; specifically, rescission of the foreclosure sale, as
there is no adequate remedy at law, and this is the only remedy that will afford complete and
meaningful relief to the Plaintiffs;

(b) Actual and punitive damages;

(c) Reasonable attorney’s fees and the cost of this litigation; and

(d) Such other relief the Court deems equitable and just.

COUNT II - NEGLIGENT MISREPRESENTATION

61. Plaintiffs incorporate the preceding paragraphs by reference.

62. Under the circumstances alleged, Defendants owed a duty to Plaintiffs to provide
them with accurate information about the status of their loan account.

63. Defendants represented to Plaintiffs on multiple occasions that ASC was working
with the information and documents Plaintiffs provided to get them a loan modification, and that
the house was not being foreclosed upon while the loan modification was being processed and
forbearance was in effect.

64. Defendants represented to Plaintiffs on multiple occasions that ASC was working

to provide them with a loan modification, that they were abiding by the Forbearance Agreement,

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.23 Page 23 of 71

and that their house was not being foreclosed upon while the loan modification processed and
forbearance was in effect.

65. Defendants’ representations were false, as they noticed the foreclosure ! day after
entering into the Forbearance Agreement.

66. Defendants’ misrepresentations to Plaintiff were negligent.

67. Defendants’ misrepresentations were material.

68. Plaintiffs relied on Defendants’ misrepresentations and timely followed all
instructions given by ASC.

69. Defendants intentionally foreclosed on the Plaintiffs’ property despite reassuring
them that this would not occur during the loan modification process, or Forbearance Agreement.

70. Plaintifts’ reliance on Defendants’ misrepresentations was thus to their detriment.

WHEREFORE, Plaintiffs respectfully request the following relief:

(a) Appropriate equitable relief; specifically, rescission of the foreclosure sale, as
there is no adequate remedy at law, and this is the only remedy that will afford complete and
meaningful relief to the Plaintiffs;

(b) Actual damages;

(c) | Reasonable attorney’s fees and the cost of this litigation; and

(d) Such other relief the Court deems equitable and just.

COUNT IV - ESTOPPEL
71. Plaintiffs incorporate the preceding paragraphs by reference.
72. Defendants’ agents represented to Plaintiffs that ASC would modify Plaintiffs’

joan and that foreclosure was not an issue.

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.24 Page 24 of 71

73. Defendants represented to Plaintiffs on multiple occasions that ASC was working
to provide them with a loan modification, that they were abiding by the Forbearance Agreement,
and that their house was not being foreclosed upon while the loan modification processed and
forbearance was in effect.

74. Plaintiffs had a reasonable expectation that Defendants would provide them with
a loan modification and not foreclose on their home, as promised; however, Defendants’
representations were false, as they noticed the foreclosure 1 day after entering into the
Forbearance Agreement.

75. Plaintiffs have been injured by their reliance on Defendants’ representations.

WHEREFORE, Plaintiffs respectfully request the following relief:

{a) Appropriate equitable relief; specifically, rescission of the foreclosure sale, as
there is no adequate remedy at law, and this is the only remedy that will afford complete and
meaningful relief to the Plaintiffs;

(bo) Such other relief as the Court deems equitable and just.

COUNT V —- INJUNCTIVE RELIEF

76, Plaintiffs incorporate the preceding paragraphs by reference.

77, There is a strong likelihood that Plaintiffs will succeed on the merits given the
Defendants’ wrongful actions, breach of covenant of good faith and fair dealing, fraud, and/or
negligent misrepresentations that led to the wrongful foreclosure of Plaintiffs’ home.

78. The Plaintiffs have been and will continue to be irreparably damaged and injured
by the wrongful foreclosure of their home.

79. Greater harm will be inflicted upon Plaintiffs by the denial of injunctive relief

than would be inflicted upon Defendants if such injunctive relief is issued.

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80. There will be no harm to the public interest if an injunction is issued.

WHEREFORE, Plaintiffs respectfully request the following relief:

(a) The Court issue a preliminary injunction enjoining Defendants from taking
possession or proceeding with eviction procedures;

(b) Appropriate injunctive relief that will preserve the status quo, and preserve the
Plaintiffs’ redemption rights. |

(c} Such other relief as the Court deems equitable and just.

Respectfully submitted,

OSIPOV BIGELMAN, P.C.

Date: March ___, 2010 we
JEFFREY H. BIGELMAN (P61755)
Attorneys for Plaintiffs
20700 Civic Center Drive, Suite 310
Southfield, MI 48076
Phone: 248-663-1800
Fax: 248-663-1801
Email: jhb@osbig.com

 

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STATE OF MICHIGAN
QAKLAND COUNTY CIRCUIT COURT
EDWARD BARTER, and
ALANA BARTER,
Michigan residents,
Plaintiffs, Case No.

Hon.
¥.

US BANK NATIONAL ASSOCIATION, and
AMERICA’S SERVICING COMPANY,
Corporations doing business in Michigan,

Defendants.

 

OSEPOV BIGELMAN, P.C.
JEFFREY H. BIGELMAN (P61! 755)
Attorneys for Plaintiff
20700 Civic Center Drive; Suite 310
Southfield, MI 48076
Phone: 248-663-1800
Fax: 248-663-1801
E-mail: jhb@asbig.com

 

_ VERIFICATION OF COMPLAINT
We, Edward and Alana Barter, verify.that the allegations contained in this Complaint are
truthful to thie best of our knowledge, information, and belief.
. Respectfully submitted,
EDWARD BARTER

Dated: March J _, 2010 Churey| [Sect

ALANA BARTER

Dated: March >, 2010 AliaaP sale

Page 14 of 14
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.27 Page 27 of 71

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January 03, 2009

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Edward Barter
37418 Legends Trail Dr
Farmington Hills MI 48331-1158

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LAST PORT6AGE PAYA iar
Dear Edward Barter ; , 2/26/09

RE: Lean Number 1127115312 Client 16¢

Thank you for taking the time to speak with us today. We at
America’s Servicing Company realize that this may be a difficule time
for. you, and we appreciate the opportunity to assist you.

Our primary goal is helping you to continue to experience the pride of
homeownership. We offer several solutions designed to help you do this.
However, in order for us to get started, we need additional financial
information from you to determine what option is best suited for your
situation. Please gather all Financial information related to your month ly
income and expenses, then ‘contact our office at (806) 662-3806,

Mon - Fri Sam-6pm In Your Time Zone. oo

While we offer a complete line of solutions for continuing homeownership,
we also recommend you seek guidance on all other debts from a community-
based Consumer Credit Counseling Agency. To take advantage of this
service, call {866) 857-3092 for additional information.

Our primary goal is to help you continue to experience the pride of
homeownership. The longer you wait, the fewer options you will have.
Providing this information as soon as possible will help us makeja

decision that best fits your needs.

Sincerely, 997 _
. 2
Loss Mitigation 77 " M CR csc

# % LO ( tA“

 

NOTE: The Fair Debt Collection Practices Act requires us to notify you tT

that in the event your loan is in default, we wiil attempt te collect 6M ite
the debt, and ary information obtained will be used for that purpose. “Ti

Tf you have received a discharge as a result of a bankruptcy proceeding,

and the loan was not reaffirmed in the bankruptcy case, we will only

exercise cur rights as against the property and not as attempting any - de
act to collect the discharged debt from you Ke oe ig M

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bee” i 64
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EXHIBIT A

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.28 Page 28 of 71

ASC

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Dex Moines, 4 HUGOTES

January 09, 2009

Edward Barter
37418 Legends Tr
Farmington Hills MI 48331

Dear Edward Barter :
RE: Loan Number 1127115312 Client 106

Thank you for your interest in our Borrower Counseling Program. By
expressing your interest to work with us, you have taken the first
step in resolving your current situation. Once we receive and begin
Processing your application and the documents we requested, some of
the options that may become available to you include:

* Repayment Plan--We can consider a payment plan that will fit your
budget and possibly bring your account current by the end of the
plan.

* Loan Modificatian--This program adds the delinquent interest, taxes,
and/or insurance payments to your unpaid balance if applicable. If
you qualify, we may be able to extend the repayment of the past due
amounts over the remaining term of your loan.

* Short Sale--This option allows you to sell your home based on
its current market value to avoid a potential foreclosure and
the negative credit rating that is associated with this action.

* Deed in Lieu of Foreclosure--This is another foreclosure avoidance
Program that allows you to convey (transfer) your interest in the
property to the lender or to the loan investor.

An application to participate in our program is attached and must pe
returned by 01-24-09. IT IS EXTREMELY IMPORTANT THAT THE FINANCI
INFORMATION YOU PROVIDE IS COMPLETE AND AS ACCURATE AS POSSIBLE To

AVOID DELAYS IN PROCESSING. PLEASE O INCLUDE COPIES OF RECENT
PAYSTUBS FOR ALL INDIVIDUALS SIGNED ON T 5
a
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.29 Page 29 of 71°

13 PAGE?
| “
To: ASC, Loss Mitigation (Fax 866 590-8910) March 3, 2009
From: Edward Barter (Age 63).Client 106
Subject: Financial Hardship Letter
Re: Loan# 1127115312, 2309 Solano Dr, Wolverine Lake, Mi, 48390

RELEVANT FINANCIAL HISTORY OVERVIEW

1. My wife (Alana) and I separated in the mid 1990’s but remained married. Maintained separate
residences through present (Me- 37418 Legends Tr, Farmington Hills, Mi, 48331, Alana- 2309
Solano Dr, Wolverine Lk, Mi, 48390).
2. Forced retirement for me in 2000 from Administration at Botsford Hospital as part of
corporate restructuring (after 30 years tenure). Began drawing pension in 2000 at age 55
($44,000/yr).
Had approx, $200k in 401K/IRA at that time..
3. 1998/1999/2000- Invested $220k in a startup waste disposal/management co. as a retirement
nest egg. Co. had patents for new processes that could replace incineration worldwide. Co.
declared bankruptcy in 2007. Whole investment lost.
4. Thave been a licensed Realtor form 2003 to present.
5. Invested in 2 foreclosed homes to supplement income/retirement
+ 12/06. 1754 Traver Rd, Ann Arbor, Mi, 48105. Price $120k. Renovation costs $15k.
Currently leased through December 2010 at #1,350/mo..
- 10/07. 30725 Roberts Dr, Franklin, Mi, 48025. Price $291k. Renovation costs $40k. Currently
for lease or sale. Sale and lease price will be dropped as necessary to sell or Jease within the next
4 months.
6. My real estate business and house values declined in 2007 and 2008. My net Realtor income
(commissions less direct expenses): 2007-$65,000. 2008- $7,000. My Realtor income is expected
to return to the 2007 level in spring/summer due to increased sales related to the housing
stimulus program (buyer federal tax credit, low interest rates, etc)
— 7. 2007/2008 financial shortfalls met by drawing down my IRA and adding credit card debt.
8. IRA value further depleted due to recent stock market/mutual fund losses (approx. 60%
decrease for my portfolio).
9. Credit score maintained at approximately 700 via #7.

CURRENT FINANCIAL STATUS
1. Mortgages

a. Homesteaded residence (Alana). 2309 Solano Dr. Balance $339k (ASC). $2,507/mo. Approx.
current market value $350-400k.
b. Non homestead condo residence (me). 37418 Legends Tr. Balance $286k (Countrywide).
$1,708/mo. Approx.current market value $225-250k. Back taxes owed approx. $8,000

-— c. Rental income house. 30725 Roberts Dr. Balance $259k (Franklin Bank). $3,144/mo. Approx
current market value $250-300k. Currently for sale at $325k or lease at $2,500/mo. Sale and
lease price will be lowered as necessary to sell or lease home within the next 4 months.

EXHIBIT B
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.30 Page 30 of 71

d. Rental income house. !754 Traver Rd. Balance $129k (Franklin Bank). $765/mo. Approx.
current market value $1! 1!0-140k. Back taxes owed $7,000. Currently Jeased at $1,350/mo
through December 2010.

_-— 2. Personal Credit Cards

a. Bank of America . Bal. $34.k, approx min payment $!,000/mo, approx interest rate 25%
b. Bank of America. Bal. $9.5k, approx min paymt $200, approx int rate 12%

3. Other Expenses — See detail sheet
-— 4. Medical Condition/Expenses

I have been diagnosed with prostate cancer. I am currently scheduled to have radical
prostatectomy surgery at The University of Michigan Hospital on April 14, 2009. If all goes
well, recovery/rehabilatation time will be 4-6 weeks. Medical expenses not covered by my
limited health care insurance policy will likely be in the $5,000 range. Medical bills still to be
paid for prior diagnosis/treatment (biopsics, scans, doctors, labs, ctc) of this cancer approximate
$2,000..

FORBEARANCE/RESTRUCTURING REQUEST

I can no jonger make my mortgage payment at the current level. In order to avert bankruptcy and
foreclosure, give time to deal with my medical problems and get back to work, | am requesting a
4 month payment forbearance/moratorium (March-June) and subsequent foan restructuring. | ask
that my 4 missed payments during this time period are not reported to credit agencies as fate.

—~ | request that my loan be restructured to make the P,! and tax payment feasible (approx,
$2,000/mo):

Principle- $300,000

Interest rate- 4%
Term: 30 yr.

Thank you for your prompt consideration under these difficult circumstances..

Sincerely,

hn Bote

Edward Barter
248 763-0120
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.31 Page 31 of 71

s

Divte: 3 fs foF

Loans: (7 2@7// 5372

Borrower: FOWARD BARTER Lasi 4 Digits Social Security Number 2/18 G

Borrower: ALAWA BA AKA Last 4 Digits Social Security Number fio"7
Please verity vour home phone number: 2GR C6/-855/
Please provide your work phone numbers: Cé£¢e. a2¢ 8 7¢3-2/20

INSTRUCTIONS:
- Complete. sign. and date the form and return it to us

- Include a copy of vour most recent pay stubs or proof of income for all
_ individuals signed on the loan. [fself-emploved. include a copy of vour last
year’s Federal Tax Return with all attachments.

i ry

1. MONTHLY INCOME DATE

 

 

 

 

 

 

 

KALTOR Borrower Coad" Co-Borrower Total
gr Bewee® Salary/Wages SCO MY SS/OYS 3,200 5,020
a-Tpoof Ft O- Salary Wages “Ue
A ve. % y-5 fe/MoDisability/Soc Sec
Child Supp/Alimony
Rental Income 4/350 Ljca
Other (Identify) PltSveN 3,650 3,650
Tota! Income 1%, oep {3,009
If. EXPENSES fa HowskHOL DS +7TRAUEA AD RENTAL HOP€ ?)
xr ay Monthly Payment Balance Due
Mortgages (3)~ 2507, 1708, 765 Y GIO 254, 08 2
Other Mort/Rent Spel ghee Yoo -
Alimonvy/Child Support _
Child Care -
Car Payment =
Car Payment ~
Utilities YSO Vv _
Car [nsurance/Fuel 4¥OO —
Student Loans
Credit Cards IF 200 7 42,62D
Personal Loans _
Groceries 450 VY =
Cable i@O0 ~
Cell Phone (49410 LIM LS [INTERMY Foo. Vv —
Taxes/Tnsurance [,a00 {Spo0O
Medical Expenses, LVS UR 3 43 50D Vv eee
Miscellaneous seD 7

Total $ /0, Y8O

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.32 Page 32 of 71

Estimated Value of Home 350,000 ~ Yod 0450
Other Real Estate S200 = 390, 200

Automobile {A.n0 0
Automobile Le bap
FOIK/ESOP Accounts 277 RA 22,000

Stocks/Bonds/CD's
Other Investments (Explain)

 

 

Please explain your hardship or reason for needing assistance.
(You may use the back of this form, if necessary.)

SEE HAROSH(P LAMTER . NEED YG fow7H PAV tren FORECADA NCE
f ? fy CE, £CAVvsS AND TF
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Z2 FUE LAMKAUPTEY ANO FoRECLOSL HOMES. BFTER RECOULRY
Aud BACK TO Wort, £ FEEL We CA RESTA CuAagéeyy~
CM RESTRYUCT URED CORTE AGE PAVIEL TH

I/We certify the financial information stated above is ue and is an accurate statement of
my/our financial condition. I/We understand and acknowledge any action taken by the
lender of my/our mortgage loan on my/our behalf will be made in strict reliance on the
financial information provided. My/Our signature(s) below grants the holder of my/our
mortgage the authority to obtain a credit report to verify the information in this financial
worksheet to be accurate.

py Lleent Bo ay, 3/29

By _ Date

 

Please send to:

America’s Servicing Company
3476 Stateview Blvd.

Fort Mull; SC 29715

Or fax to:

Loss Mitigation
1-866-590-8910
‘Subjects

Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.33 Page 33 of 71

012

Date/Time: gf, ifo G Qies Prt

To: -WFEM: Eiom: Edward Barter

Fax Number: (866) 590-8940 Fax Number: 6 YF 66/-8L55 i

Phéné .Nimberr, AYO 762 - 07.2.0

RE: Client 106. Loan. Number -1¥27115312

 

This facsimile. transmission is ‘confidential and: may be privileged. It is:

intended ‘for the use -of .the addressee ‘only. If you are not the addressee

or a person responsible for delivering this transmission to the
addressée,. ‘do not. use. ‘this ‘transmission in -any way,. ‘but: promptly: contact .
the sender - by téTéphohe or reply evidtl “and dest¥oy ald copiés of the
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~ Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.34 Page 34 of 71

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PG Bax 10584
De Morn A

March 23, 2009

 

Edward Barter
37418 Legends Tr
Farmington Hills MI 48331

Dear Edward Barter :
RE: Loan Number 1127115312 Client 106

Thank you for your interest in our Borrower Counseling Program. By
expressing your interest to work with us, you have taken the first
step in resolving your current situation. Once we receive and begin
processing your application and the documents we requested, some of
the options that may become available to you include:

* Repayment Plan--We can consider a payment Plan that will fit your
budget and possibly bring your account current hy the end of the
plan.

* Loan Modification--This program adds the delinquent interest, taxes,
and/or insurance payments to your unpaid balance if applicable. If
you qualify, we may be able to extend the repayment of the past due
amounts over the remaining term of your loan.

* Short Sale--This option allows you to sell your home based on
its current market value to avoid a potential foreclosure and
the negative credit rating that is associated with this action.

* Deed in Lieu of Foreclosure--This is another foreclosure avoidance

program that allows you to convey (transfer) your interest in the
Property to the lender or to the loan investor.

lication to participate in our program is attached and must he
ret 04-07- IT IS EXTREMELY IMPORTANT THAT THE FINANCIAL
NFORMATION YOU PROVIDE IS COMPLETE AND AS ACCURATE AS POSSIBLE TO

AVOID DELAYS IN PROCESSING. PLEASE ALSO INCLUDE COPIES OF RECENT
PAYSTUBS FOR ALL INDIVIDUALS SIGNED ON THE LOAN.
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‘EXHIBIT C
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.35 Page 35 of 71

“

é Krol 0g
— ASC 3 ¥ UPDATED/ConkecTED
nen ae FINANCIAL WORKSHEET
Date: March 23, 2009 Loan Number: 106~1127115312

Mortgagor : Edward Barter

*** VERIFY AND/OR UPDATE INFORMATION LISTED BELOW IN ITEMS A - F ***

A.} VERIFY HOW MANY INDIVIDUALS
LIVE IN YOUR HOME: T: BORROWER UPDATE(S) :_
7 ey AL Anh - Wi FE

B.} VERIFY CURRENT

MONTHLY INCOME: BORROWER BORROWER CO~-BRWR CO-BRWR
INCOME: _UPDATE (S} +_INCOME: _ _UPDATE (5S):
TRREE ULAR - PEAS —~.

(wee. VES fF
RAMEFS FROM Net. Salary/Wages: $3,650 -00 ase : - ,06 § 3,090 | 009 e aN Rr
"apg % oooh a te Income: 8,000.00 .00 § som Ay
is (EXAMPLE (S) eae Spyies ‘ 000) =
Ook Soc al Rental Property Child Support/Alimony?> oF Li: Fy, G00 14,d00 a
Rental Propezty/nent from Roommate)
? CRental_Property/ne MONTHLY BORROWER

 

 

 

C.) VERIFY 7a FOR TRLY EXPENSES: PAYMENT : _UPDATE(S)
o.pos) ~
1) eat sring ‘Nonenage Payment $ 2,507.43 Ms
2) Other Mortgage Loans FS $ 2,465.00 $2. S2.4 73 __
3) Installment/Car/Boat/RV/Loans: $ COrs
4} Credit Cards {examples below)
Visa/MC/Discover or Store $ 1,200.00¥$
5) Lines of Credit (example below)
credit line/home equity line $ -00"$
6) Charge Off Accounts:
{accounts written off by lender) $ .00s
7) Other credit sccounte & Be tgaos? -00~S by eeu K
8) Credit Accounts that are pus $ 00s
for more than 5 months UD
9) Food $ 450.00 V$
10) Utilities $ 450.00 S
11) Transportation $ 400.00 -’S
12} Child Care/Alimony § “oo gs
13) Personal/Family Loan &/or Tuition $ -00 $s
14} Medical expenses not covered by insur . $ 500.00 ”§
'15) Cell Phone/Cable/Internet/Satellite $ 300.00 ,$ £00
16) Association Fees or Monthly Dues § 275.00“
17) Dry Cleaning/Laundry:Uniforms/Clothing §$ -00 §

***List the total amount paid for Taxes and
Insurance if non-escrowed on a monthly basis $ £220

LM206/GMI/1 i
TOTAL V1,¢55° -&

EXHIBIT D
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.36 Page 36 of 71

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UPlATES

Financial Worksheet
page 2

D.)}) VERIFY CURRENT ASSETS: mated Value(s):

Es +
WHHL BOR & ge cos onerPree TUT REED
(AE ak

 

1) Home § we Béceaery ~ DROPPED

2) Other Real Estate texplaiky * $3 =~ B90K Row Last yA.)

3) Automobile (#7 yas 04D) S12, 250

4) Automobile (77 YAS on b) $ _/, 020 OSL,

5) 401k/ESOP Accounts TRA $ Zi, 600 . RR NY one Hee WE + REMTHE
6) Stocks/Bonds/CD's $ ‘ ,

7) Other Investment (explain) $

£.} VERIFY PHONE NUMBERS:

HOME WOBK CCELLPOTHER PHONE_

Current: (246} 763-0120
Update(s): .

 

 

F.) VERIFY MALLING ADDRESS:
CURRENT: _UPDATE(S):

2308-Sersho Drive B7¢/8 LlELHAC TR
armington Hills ,- MI 46331-0000

G.} Please describe your reason for needing assistance:

(If you need additional space, please use th ack of this form.)
SEF Ef77£0 02/2109 + Lado UPDATE |

* After verifying please sign, date and return in enclosed envelope. ”

* Signed Hardship Letter if section (G) of this form is blank. :

* If self-employed, include a copy of your last year’s Federal Tax KLALABY Stay
with all attachments and current Profit and Loss Statement.

 

 

 

I/We certify the financial information stated above is true, and is an
accurate statement of my/our financial condition. I/We understand and
acknowledge any action taken by the lender of my/our mortgage loan on
my/our behalf will be made strictly based on the financial information
provided. My/Our signature(s) below grant(s) the holder of my/our
Mortgage the authority to obtain a credit report to verify the

nocvsery of the information in this financial worksheet to be accurate.

By [Fonte  date_¥/2/09 By Date

LM206/GMI/page 2 Loan Number 106/1127115312

 
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.37 Page 37 of 71

6/10/09

toasc] (FAK 366 $%0- 89/0)
Re: Loan Number 106- 1127115342

Subject: Corrected/Updated Information for Subject Property
(2309 Solano Dr., Wolverine Lk, Mi, 48390). Hardship Letter Dated/Submitted 3/3/09

1) Financial Information- See attached updated Financial Worksheet 6/10/09
2) Updated/Corrected House Market Value-

Due to the depressed Michigan economy/housing market and deteriorated condition of
the subject house, the corrected market value of the house is tn the $275,000-$300,600
range.

The home is a ranch style on a concrete slab built in 1955 and added to in 1961. The
concretc slab foundation has a major crack/scparation causing the sw end quarter of the
foundation/floor to sink 3-5 inches. This is evidenced by a 3-5 inch gap between the floor
moldings/baseboard heating and the sunken floor in the family room and a bedroom. It
has also caused the exterior bricks to separate/crack where this section of the house has
sunk. The house also needs a new roof (leaks in 3 main rooms and hallway) and new
windows and updated bathrooms {all original). These deficiencies are unknown to the
county tax assessor and are therefore not accounted for in the state equalized value for the
house (the state equalized value dropped due to market conditions $35k ($70k market
value) just in the last year). The mentioned physical deficiencies are of major significance
(cspecially the cracked/sinking foundation) in further decreasing the actual market value
when trying to sell this house in a depressed buyers market. (] am a Realtor and have
done a market evaluation based on current area homes for sale and the limited number of
actual recent area home sales to help assess the current market value).

| have had the prostate cancer surgery mentioned in my 3/3/09 hardship letter and am
currently recovering satisfactorily. | have resumed working as a Realtor in this slow
Michigan market and expect to start closing some sales again next month. I still wish to
keep the Solano Dr property and feel that | can do this with a modified loan as requested
in my hardship letter (principle$275-300k, int 4%, term 30 yrs, approx. $2000/mo PITH).

Please add this to my file and advise me regarding my request for the
moratorium/forbearance and foan modification.

Thank you.

Pderrd [Sart

Edward Barter
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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.38 Page 38 of 74
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033413 1 AB‘0,360
Edward Barter

37418: Legends Trail Dr
Farmington Hflis ME 48531- irse

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Due Date: O03-01+ ‘09
Loan Number 106- 1227115312.

Thank you fok. contdéeting us regarc I I
mentioned above. Giir goal is simple. We want to efsire that. ‘you have
every. opportunity. to retain. Your home... Based off Gur réléphone
conversation_a' nformation you provided, we, would’ like. to
éffer you a Special | Forbearance “Plan.

 

 
  

Currently, ‘your idan is due for 4 installments, from March 01, .2009
throygh June ol, 2009. As agreed, you have promised to pay the, {
amounts: show below by: the dates indicated: Also enclosed are the terms
and Cotditions af this Fétbearaace., Please sign the éncloged: _agteément
ang return it. with the first installment. This is not a@ waiver of tne.
accrued ‘or future payments that become due, but'a period For you to’
determine how you will be able to resolve: your financial - ‘hardship. ‘Any:
Payments recéived will be applied to the delinquent Payments on thé- loans: _
“buring this Special Forbearance Agreenerit, payments are _ EO: be. Mad lec veh
Ame nica? Ss Servicing. Company , (
MAC’ R7801-03K
476 “Statéeview Blvd
Fort Mill SG 29715,

 

 
 

 
 
      
 

to. suspend foreclosure

We will tnstruct our Eoreclosure coi ed:
e tne initral “payment. fias- been. "received, and to cortinue:

pr Geedin s'o5

 

jt: ‘suspend. ‘the action asi Long as. you. Keep, to the: terms of ‘the ‘Agreément .”” 4:

  
  

 
   
 

Upon. full. reinstatemanr, Wwe will instruct our ‘foreclosure cc counsel to u
dismiss foreclosure. Proceedings afid ‘report to credit: bureaus “accordingly.

 
 

 

a

During this period, we. are ‘requesting that you ‘maintain contact With our
office in order to establish ‘acceptable arrangements for bringing your
oan Gurrent. Lf you need additional assistance, please call us at,

900) 662-3806, Monday through Thursday, "B AM to Ll PM; Friday, 8 AM to
to 10 PM; oF ‘Saturday, 9 AM to 3 PM, Eastern Time.

 

LCO’65 006 Q0c

We are requixed by the. Pair Debt Collection Practices Act to inform: you
that if your. loan is currently delinguent or in default. as your loan
servicer, we will te attempting to eollectt a debt, and ‘any information’
obtained will be wsed for that purpdésé. Howéyér, Lf you have réceived a
discharge, and the loan was not reaffirmed in, the bankruptcy case, we
will onty exércise our right “as: against the property. and are not
attempting; any att to Goblece the ‘discliaige. débt from you: personal ly.

Ky

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EXHIBIT E
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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.39 Page 39 of 71

. ; f
‘SPECIAL FORBEARANCE AGREEMENT. -. TERMS AND CONDITIONS.

i. Currently, your loan ¥s due for 4 installments, from
March ‘01, 2069 through. June 61, 2003.. The: indebtedness of the
referenéed. loan ts in default and din sonsideration of extending
forbearance for a pefiod of time, it: -is necéssary that you indicate.
your understanding | and accéptancé of the terns of the. forbearance
agreement by: dnmediately signing: and returning this agreement ..
‘2. Payments must be madé strictly in accordance with the enclosed. ‘payment
schedule and. forbéaranée. agreement éonditions: ‘This pian is an
agreement to; ‘temporarily: accépt: Téduced payments or maintain tédular
monthly payments during the plan specified’ below. Upon successful
completion. of, he: payments utlined in this pian, vous loan Wi ee be

  
  
  
   
   
   

 

3, BE earthen 4 agreement, |
rer of the lender's
a,j OVS PONS Of ‘the note iaind security: instrument, except. as

ded, shall xemain- in full force and. Breer Any. ‘bpeash. ioF

 

   
   
  

   

lender without. Furthér noe: z /
lender, at “TEs ‘Option, Gapinseieuce Foreclosure ‘proceedings according e
‘to ‘the terms. of the: note and security instrument without regard to
His agreement. In the evert of foreélosure; you may “incur additional. Ob 4F

; inses .of Attoriey s fees and. fé6réclasure costs. . 7)
5. Bach payhernt: tiust be remitted according to the schedule. below.

LAS AMT PLAN DATE. ’
2,507.43. oz 8 -09701/09
2,807. 43 64 11/01/09

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net 2éeeived on or efore the. Gis aoe, “the ag. ‘ament will ‘be vol
the: tora) delinguen y, including fees, will be dué immediately. |
7. Phe total s : licated on, each: payment of. ‘the payment. ‘schedule.
must. be rer
net. recéived,
-Afid: void... :

   
 

 

the! Spécial Forbéed france ‘Soreenent Will BE- etdered OL

By signing this: Agreement tL hereby. consent to being contacted concérning
this Ioan at ‘any cellular or mobile teleptioné. wiumber I may have. “This
inclides tékt messages, at ‘no. ‘cost. to me, dnd telephone calls including
the use of: automated. dialing systems to contact my. cellular or mobile
telephone:

  

 

 

Morfgagor Date Co-mortgager : ‘Date:

Loan Numbér 106/2227115312

OF ENDORSTS ACOIIS 1419 ETMIGHOS

   

     
~~ Case 2:10-cv-11476-DPH-RSW ©

THIS FIRM 15 A DEBT COLLECTOR
- ATTEMPTING TO COLLECT A DEBT. ANY
INFORMATION WE O8TAIN WILL BE USED
FOR THAT PURPOSE. PLEASE CONTACT OUR
OFFICE AT THE NUMBER BELOW IF YOU ARE
IN ACTIVE MILITARY DUTY. MORTGAGE SALE
- Defautt has been made in the conditions of a

assigns, Marigagee,
December 8, 2005 and recorded January 10,
2006 in ee ees ems, Page 51, Gakiand County

Records, Michigan. Said mortgage Is now held
by US Bark Nations! Association, a5 successor

risigen at Soy not on AAS 2,08,

Attorneys for Servicer P.O. Box 5041 Troy, MI
48007-5041 248-502-1400 File No, 306.2799
ASAP# 3149723 06/17/2009, ‘06/24/2009,
67/01/2009, 07/09/2009

ECF No.1 filéd 04/13/10 PagelD.40 : Pagé 40 of 71°

vray |6B5 78651

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~

AFFIDAVIT OF POSTING
STATE OF MICHIGAN *

COUNTY ae
or “7 , being duly

sworp, deposes and says that on the 22 day of

A.D., 2009, he posted a Notice, a true
copy of which is annexed hereto, in a conspicuous place
upon the premises described in said notice by attaching the
same In a secure manner to:
2309 Solano Drive
Wolveri e MI 48390

~—

 

 

‘Signature ~~ ~~

4boal UD

| Printed Name (Please Print Neatly)

 

O. Multi Unit

Oo Mobile/Manufactured Home
-O Vacart/Abandonment -

| No Dwelling

0 Other ((.e. visual damage)

‘Subscribed and swom to before me this 7.3 day

, A.D. 2009

L ttt.

Signature of Notary Public

Dawe 1, f-Le.

Printed Name of Notary Public
{Please Print Neatty)

than County, Michigan .
My Commission Expires: // Siz “7”

Acting in ttt

DRAFTED By and when recorded

Of __ ST AJE

County, Michigan

Return te: Orlans & Associates, P.C.
P.O. Box 5041
Troy, ME 48007
(248)502-1400 —
FileNo. 3062799
ASAP No, 3149723

EXHIBIT F
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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.41 Page 41 of 71

ORLANS
PO Box 5041
Troy, Michigan 48007-5041

O R LA NS P 248-502-100 F 248-502-1601

FEDERAL LAW REQUIRES US TO ADVISE YOU THAT COMMUNICATION WITH OUR OFFICE COULD BE
INTERPRETED AS AN ATTEMPT TO COLLECT A DEBT AND THAT ANY INFORMATION OBTAINED WILL BE
USED FOR THAT PURPOSE.

THE FOLLOWING LETTER IS A DISCUSSION OF ALTERNATIVES TO FORECLOSURE. IT I5 OUR
UNDERSTANDING THAT YOU ARE NOT CURRENTLY IN BANKRUPTCY. IF YOU ARE IN BANKRUPTCY,
THEN PLEASE DISREGARD THIS LETTER IN ITS ENTIRETY AND HAVE YOUR ATTORNEY CONTACT OUR
OFFICE AS SOON AS POSSIBLE,

2
Edward Barter and Alana Barter D Pes na June 16, 2009 ij 0 ,
37418 LEGENDS TR ~ { 2
/

Dear Edward Barter and Alana Barter,

We have been retained by your mortgage company, America’s Servicing Company? to start foreclosure *
proceedings on your property. America’s Servicing Company vé certain altematives to foreclosure that could
help you save your home. These alternatives are voluntary and include:

e Repayment Plan: An agreement that gives you a fixed amount of time to sepay the amount you are behind by
combining a portion of what is past due with your regular monthly payment.
¢ Forbearance Plan: An agreement to temporarily reduce or suspend your morgage payments for a short
period of time.
. ee A loan modification is a written agreement between you and the lender that permanently
2s the terms of the loan,

Reinstatement of Your Loan: You would pay the total amount past due plus fees and costs in one lump sum.
Deed In Lieu of Foreclosure: You agree to voluntarily transfer title of your property to the lender prior to the
foreclosure sale. *This option is available only if there are no other licns on the property.

e Sell Your Property: This means that yous property would be sold by you prior to the foreclosure. Approval is

eee off your lender in full.
For more information on any of the above options, please contact us at 248-502-1600 to speak with a Homcowncr

 

 

{ Support Specialist.

—_

 

 

If this mattes proceeds to foreclosure sale you could face personal liability if the property sells for less than the amount
owed on the debt. That is, if the amount received at the sale is less than what you owe, you remain responsible for that
difference. As such, you could be sued for the deficiency and have to repay that amount in addition to the foreclosure.

Contacting this office will not suspend your obligation to make your mortgage payments. This office will continue all
collection and foreclosure activity unless and until a workout plan has-been. completed and agreed to by America's
Servicing Company-and you, You may be responsible for any and all legal fees and expenses incurred through this

“action. Responding to this does not termmate your obligation to timely respond to any pleadings you received in the
pending Foreclosure action, We strongly recommend that you consult with an attorney to preserve your legal
rights.

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Sincerely, go Hed th OTE
Loan Resolution Department f i _ iy D
Orians Associates, P.C. . H (+ S OD A

EXHIBIT G
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.42 Page 42 of 71

ORLANS
PO Box 5041
‘Troy. Michigan 48007-5041

O R LA N S Pages 1400 F 248-502-1408

FEDERAL LAW REQUIRES US TO ADVISE YOU THAT COMMUNICATION WITH OUR
OFFICE COULD BE INTERPRETED AS AN ATTEMPT TO COLLECT A DEBT AND THAT
ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.
IF YOU ARE IN ACTIVE MILITARY SERVICE, PLEASE CONTACT OUR OFFICE, AS YOU
MAY BE ENTITLED TO SPECIAL PROTECTIONS

June 16, 2009
Edward Barter
37418 LEGENDS TR
Farmington Hills, MI 48331 File Number: 306.2799

Dear Owner(s):

This office tépresents America's Servicing Company which is the creditor to wham your mortgage debt is
owed or the servicing agent for the creditor to whom the debt is owed. The creditor has referred this matter
to this office with instructions to start proceedings to foreclose the mortgage located at: 2309 Solano Drive.

As of the date of this letter, the balance due is as follows:

 

Principal 339,905.06
Interest 7,857.39
Late Charges 265.56
Advances -2,672.96
Corporate Advances 95.00
TOTAL $345,450.05

Under the terms of your mortgage, the creditor hereby elects to accelerate the total indebtedness. You may
have the right to reinstate the mortgage, subject to the creditor’s approval by paying all past due installments,
late charges, delinquent taxes, insurance premiums, costs and fees incurred in the foreclosure. Requests for
reinstatement information must be received before the date of the sheriff's sale. To request reinstatement
information, contact our Loan Resolution Department at 248-502-1600, or email'at
reinstatements@orlans.< com. Please feave your loan information and mailing address with our automated
service. A representative will contact you via mail or phone within five business days.

The debt described above will be assumed to be valid by this office, the creditor’s law firm, unless you, the
debtor/consumer, within thirty (30) days after the receipt of this notice, dispute the validity of the debt or
some portion thereof. If you notify this office in writing, within thirty (30) days of the receipt of this notice,
that the debt, or any portion thereof, is disputed, we will obtain a verification of the debt and a copy of the
verification will be mailed to you. If the debt is based on a judgment, a copy of the judgment will be provided
for you, upon request,

If the creditor named in paragraph one of this letter is not the original creditor, and if you make a written
request to this office within thirty (30) days from the receipt of this notice, the name and address of the
original creditor will be mailed to you.

If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings, this
letter is not, and should not be construed to be an attempt to collect a debt from you personally, but only
enforcement of a lien against the property.

Very truly yours,
Orlans Associates PC
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.43 Page 43 of 71

ORLANS
PO Box 5041
Troy Michigan 48007-5041

C) R | A N S P 248-502-1400 F 248-502"1401
wwworlans.com

FEDERAL LAW REQUIRES US TO ADVISE YOU THAT COMMUNICATION WITH OUR
OFFICE COULD BE INTERPRETED AS AN ATTEMPT TO COLLECT A DEBT AND THAT
ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

June 16, 2009

Edward Barter
37418 LEGENDS TR
Farmington Hilts, MI 48331

RE: 2309 Solano Drive, Wolverine Lake, MI 483906
Orlans File No. 306.2799
Rights under HUD’s Service Members Civil Relief Act

Dear Mortgagor(s):

This letter is to inform you that if you are on active duty in the military or are a
dependant of someone who is on active duty in military, you may be eligible for certain
protections under the federal Service Members Civil Relief Act (50 USC App. §§501-
596) (SCRA). Those who may be entitled to such Legal Protection under the SCRA are:

Active duty members of the Army, Navy, Air Force, Marine Corps, Coast Guard, and.
active service National Guard; active service members of the commissioned corps of the
National Oceanic and Atmospheric Administration; active service members of the
commissioned corps of the Public Health Service; United States citizens serving with the
armed forces of a nation with which the United States is allied in the prosecution of a war
or military action; and their spouses and/ or dependents.

If you feel you may be eligible for such protections, you should contact both the servicer
and Orlans Associates immediately and forward a copy of the service member’s military

orders to:

Orlans Associates, P.C. America's Servicing Company
P.O Box 5041 7515 Irvine Center Dr.

Troy, MI 48007-5041 and Irvine, OH 92618

Attn: SCRA ATTN: Loss Mitigation

Phone: 248-502-1600

Sincerely,

ORLANS ASSOCIATES, P.C
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.44 Page 44 of 71

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. 28 PAGS TOTAL

 

‘EXHIBIT H
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.45 Page 45 of 71

To: ASC, Attn. Kurt , Fax 866 617-5260

Oct.23, 2009

From: Edward Barter, Loan#: 1127115312 (2309 Soiano Dr, Wolverine Lk, Mi. 48390)
Subject: Financial Hardship Letter Update (Supplement to Original Letter 3/3/09)

Currently under Forbearance Plan offered in June whereby regular payments of $2,507-would be
made in Aug., Sept. and October and loan would be modified in November. Payments were
made with difficulty drawing some funds from my IRA as required.

FINANCIAL PROBLEM HISTORY OVERVIEW

A. My Realtor income dropped substantially in 2008 and 2009 due to Michigan
economy/housing market and was exacerbated by some serious medical problems in 2009.
B. Renovated (340k) and carried ($3,200+/mo.) an investment income house (Franklin, Mi) for
later 2007, all of 2008 and early 2009 as it would not sell or lease in fallen housing market.
C. 2007/2008/2009 monthly shortfalls financed by drawing down my IRA and credit card debt
until I couldn’t do it any further.
D. 2009 medical problems which added medical expenses and took time from work:

~ Diagnosed with prostate cancer. Had radical prostatectomy surgery in April at University of
Michigan Hospital. Thought to be successful but must have PSA test every 3 months to monitor
any further cancer growth.

- Had GI bleed which required hospitalization/surgery in June.

- Recently had medical evaluation at University of Michigan Orthopedics Dept. and was told
that I need a total shoulder replacement. Will determine when I have this within a year.

CURRENT FINANCIAL STATUS

A. Finally sold the Franklin investment house on 10/8/09 on a short sale, no proceeds to seller.
Cumulative loss >$100k but eliminated the $3,200+/mo. expenses.

B. Updated Current Income and Expenses on attached Financial Worksheet. Shows ave. current
shortfall of about $1.800/mo. including existing mortgage (@52,507 includes taxes).

C. Loan Modification Request

Medify loan so that payment is'$1,900-$2,000/mo. incl. taxes by interest reduction and principal
reduction to approximate actual market value. See attached letter regarding house current market
value. Can Home Affordable Modification Prog. guidelines (31% income, 2% int, 40 yr term,
prin. reduction, etc) be used here as only part of my income can be applied to the Solano Dr

mortgage payment ?
D. Other Positive Factors That Will Eliminate Shortfall (see Worksheet)

t. Despite the poor Michigan economy/housing market, 1 expect to be able to increase my
Realtor income in 2010 and beyond from the stated 2009 level now that I am past the cancer
issue and can work fulltime.
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.46 Page 46 of 71

2. Social Security will provide additional/replacement income. The start dates are at full
retirement age (66) so we can continue to work without a deduction from the SS amount:
Edward Barter $2,170/mo. starts 9/25/11. Alana Barter $1,594/mo. starts 12/11/13. See attached
SS Statements.
2.5. A loan modification for my condo mortgage is currently in process.

3. Medicare starts for Edward next year (9/25/10) and for Alana 12/11/12. This will substantially
reduce the shown health insurance and out of pocket medical expenses.

4. Shown out of pocket medical expenses are for the 3 major medical procedures mentioned and
will be paid off in 2010.

5. The credit card debt accumulated will be addressed through settlements (utilizing part of my
TRA) or otherwise addressed so it will be less than the amount shown.

it is felt that with the requested loan modification ($1,900-$2,000/mo.payment) and the other
initiatives, we can avert foreclosure and bankruptcy and remain current on all mortgage
payments henceforth.

Thank you very much for your help and consideration.

Sincerely,

ErdeaMl yn As

Edward Barter
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.47 Page 47 of 71

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Thank:you for-your consideration::: fImonicasicay Waddig viverra i fails cyan

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Edward Barter

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.48 Page 48 of 71

 

 

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AMERICA'S SERVICING CO. | i
RETURN MAIL OPERATIONS :
PO BOX 10328 / re
DES MOINES iA 50306-0328 SaCAlGa'® SEAVICING COMPANY
November 16, 2009 Account Informatio

Online: ¢

Fax:

Telephone: 8
[oMbacllfoc8MsstODMbcolDadeL4aMasQPost Hote feof Coenen ote Monee tA 50306

: OOS899 1 MB 0.382 orzrecossywooser2 cats 2 acncar Hours of Operation: Mon - Fri. 84M -8 PM CT

EDWARD BARTER
37418 LEGENDS TR

Lean Number: 1127415342
FARMINGTON HILLS, MI 48331-1158 Pro Address: 2309 Sol Drive
ValeobDocducoDDasolEnoanDDocoLBarelEaDsDaPecdeceel}sobeleaall Wolverine Lake Mi 48390

 

 

RE: Decision on your request for mortgage assistance

Dear Edward Barter:

We're writing to provide you with the results of our efforts to find a solution that might heip with the
mortgage payment challenges you're facing.

Final decision on your mortgage foan request
Unfortunately, after carefully reviewing the information you've provided, we are unabie to adjust the
terms of your morigage.

This decision was made because you did not provide us with alt of the information needed within the ?
{ 3 | time frame required per your trial modification period workout plan. For that reason, you have notbeen ©
[Rue approved for a mortgage foan modification.

Additional assistance Is available

In an effort to help you improve your situation, we encourage you to contact a NUD-approved Credit
Counseling agency by calling (800) 569-4287. A counselor will work closely with you, take your financiat
circumstances into consideration, and create a budget plan that may work for you.

Be sure you avoid anyone who asks for a fee for counseling or a loan modification, or asks you to sign
over the deed to your home, or to make your mortgage payments to anyone other than America's
Servicing Company. ;

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.49 Page 49 of 71

* Page 2 of2

 

Account Information
Logan Number: 1127115312

Property Address: 2309 Sciano Drive
Wolverine Lake MI 48390

 

 

 

If you have any questions about the decision we've made on your mortgage request, please call a
America's Servicing Company representative today at the number listed above in the accoun
information section. We'd also like to hear from you if any of your circumstances have changed, cr if
you can provide us with additional infarmation for consideration.

Sincerely,

Bon Lb am oat TOLD To RESUBMIT

Ben Windust Awd s7TAAr OVER f

Senior Vice President A P . °

America's Servicing Company, . / ON RR OX f iff fot
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WHICE CUT OF TOWN
. America's Servicing Company is required by the Fair Debt Collection Practices Act to inform you that if your loan Is currently delinquent or in defautt.

as your loan servicer. we wil! be attempting to collect a debl and any information obtained will be used for that purpose. However. # you have received

a discharge and the loan was not reaffirmed in the bankruptcy case. America’s Servicing Company will onty exercise its right as against the property

and is not attempting any act tc collect the discharge debt [rom you personally.

The state Rosenthal Falr Debt Collection Practices Act and the federal Fair Debt Coltection Practices Act require that, except under unusual
Circumstances. collectors may not contact you before 6 AM or after 9 PIM, Thay may not harass you by using threats of violence or arrest or by using
obscene language. Collectors may not use false or misleading statements or ce!) you at work If thay know or have reason to know that you may not
receive personal calls at work, For the mast part, coltectors may not tell ancther person, other than your attomey or spouse. about our debt. Collectors
May contact ancther person to confirm your location or enforce a judgment. For mone Information about debt collection activities, you may contact the
Federal Trade Commission at 1-977-F TC-HELP or www.fic.gov.

             

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905690000413 ACEP S1-ET--Co02
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.50 Page 50 of 71

11/30/09

FO: ASTe
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EXHIBIT J
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.51 Page 51 of 71

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11/29/09

To: Ben Windust, Senior VP, America’s Servicing Co, PO Box!0328, Des Maines, LA,
50306-0328 ,

Fax: 866 590-8910 and 866 278-1179

Re: Loan #11271]5312 €2309 Solano Dr, Wolverine Lk, Mi, 48390)

Subject: Resubmission of all Loan Modification Information (32 PAGES)
Protest of Rejection Process

As instructed by an ASC representative, I have resubmitted all of the information
requested for my foan modification which originally started in March, 2009.

I received your letter dated 11/16/09 stating that my request was rejected “ because you
did not provide us with all of the information needed within the time frame required per
your trial! modification period workout plan.” To my knowledge, I provided in good faith
all of the information requested initially and all of the additional information requested. 1
did this on a timely basis although I was NEVER given a specific date or deadline for any
of the additional information requested by the multiple representatives I spoke with
during the process. I called ASC and asked what was the information requested that I
didn’t submit that caused my modification request to be rejected and the rep. could not
tell me. She stated only that I did not return a telephone call. The only call I had a
voicemail message for was from Kurt/Curt(?) from ASC. I retumed the call tie NEXT
day and was told by another rep. that my modification had been voided and to resubmit
everything and start the process over again. This is absolutely ridiculous to cancel/reject
this loan modification request that has been in process since March over some added
information which I did not know about and which the ASC rep could not identify from
your system notes when I cailed back and asked.

This abrupt and unilateral rejection of this loan modification request is not in keeping
with ASC’s stated “efforts to find a solution that might help with the mortgage payment
challenges you’re facing.” Jt seems ASC has lost sight of the overall objective of

helping responsible people keep their homes through difficult times and instead has fallen
back to rejecting a needed loan modification based on 2 seemingly arbitrary, unfair
technicality, As a senior who is trying to-contend with/recover from a bad Michigan
economy/housing market/reduced Realtor income, prostate cancer/needed total shoulder
replacement, I had hoped you would act in good faith to help. Your actions are aiso not in
keeping with the US Department of the Treasury’s Home Affordable Modification
Program objective to prevent foreclosures. It appears that you are initiating the trial
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.52 Page 52 of 71

modification process to gain federal incentive funds but not actually implementing the
needed loan modification.

While I am complying with your mutually wasteful approach to start this process over
again and am hopeful that the needed loan modification is granted, I am maintaining a
record of all communications/requested information and wilt submit it to the proper
authorities within the US Department of Treasury if you force me into foreclosure.

Please let me know if you need any further information. Please call (248 763-0120) or

email (realestateinfo@edbarter.com) and specify your name/date/time, the specific
information you need and when you need it,

Thank you for your help and consideration.

Edward Barter

Cc: Home Affordable Program
US Department of Treasury
1500 Pennsylvania Ave, NW
Washington, DC 20220
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.53 Page 53 of 71

*

Resubmit/Update | 1/29/2009
To: ASC, Fax 866 590-8910, 866 278-1179
From: Edward Barter, Loan#: 1127] 15312 (2309 Solano Dr, Wolverine Lk, Mi., 48390)
Subject: Financial Hardship Letter

As instructed by an ASC representative, I am resubmitting/updating my Hardship Letter and all
of the other material requested for my loan modification.

FINANCIAL PROBLEM HISTORY OVERVIEW

A. Invested $221,000 as a preferred stockholder in 1999 and 2000 in a new technology waste
disposal company (WR2, Inc) to serve as my retirement nest egg. Company failed and filed
bankruptcy in 2007,. Entire investment lost. ,
B. My Realtor income dropped substantially in 2008 and 2009 due to Michigan
economy/housing market and was exacerbated by some serious medical problems in 2009.
C. Renovated ($460k) and carried ($3,200+/mo.) an investment income house (Franklin, Mi) for
later 2007, all of 2008 and early 2009 as it would not sell or lease in fallen Michigan housing
market.
D. 2007/2608/2009 overall monthly shortfalls financed by drawmg down my TRA and using
credit card debt until I couldn’t do it any further.
E. 2009 medical problems which added medical expenses and took time from work:

~ Diagnosed with prostate cancer. Had radical prostatectomy surgery in April at University of
Michigan Hospital. Thought to be successful but must have PSA test every 3 months to monitor
any. further cancer growth.

~ Had GI bleed which required hospitalization/surgery in June.

_ Recently had medical evaluation at University of Michigan Orthopedics Dept. and was told

that [ need a total shoulder replacement. Will determine when. I have this within a year.

CURRENT FINANCIAL STATUS

A. Finally sold the Franklin investment house on 10/8/09 on a short sale, no proceeds to seller.
Cumulative loss >$100k but eliminated the $3,200+/mo. expenses.

B. Current/updated Income and Expenses on attached Financial Worksheet. Shows. eve. current
shortfall of about $2,000/mo. (including existing subject property mortgage payment and taxes).
C. Loan Modification Request

Modify Joan terms-so that payment is $1,900-$2,060/mo. including taxes by interest reduction
and principal reduction to approximate actual current market value. See attached letter on house
current market value.

D. Other Positive Factors That Wil) Eliminate Shortfall (see Worksheet)
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.54 Page 54of 71

+

1. Despite the poor Michigan economy/housing market, I expect to be able to increase my
Realtor income in 2010 and beyond from the stated 2009 level now that I] am past the cancer
issue and can work fulltime plus the home buyer federal tax credit extension into 2010.

2. Social Security wili provide additional/replacement income. The start dates are at full
retirement age (66) so we can continue to work without a deduction from the SS amount:
Edward Barter $2,170/mo. starts 9/25/11. Alana Barter $1,594/mo. starts 12/11/13. See attached
SS Statements.

2.5. A loan modification request for my condo mortgage is currently in process.

3, Medicare starts for Edward next year (9/25/10) and for Alana 12/11/12. This will substantially
reduce the shown health insurance and out of pocket medical expenses.

4, Shown out of pocket medical expenses are for the 3 major medical procedures mentioned and
will be paid off in 2010.

5. The credit card debt accumulated will be addressed through settlements (utilizing part of my
IRA as necessary) or otherwise addressed so the monthly expense will be significantly less than
the amount shown.

It is felt that with the requested loan modification (approx. $1,900-$2000/mo.PIT. payment) and
the other initiatives, we can avert foreclosure and banknuptcy and remain current on all mortgage
payments henceforth.

Thank you very much for your help and consideration.

Sincerely,

hf Ba LK

Edward Barter
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.55 Page 55 of 71

 

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.57 Page 57 of 71

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To: ASC
Re: Loan Number 106- 1127115312

Subject: Corrected/Updated Market Value Information for Subject Property
(2309 Solano Dr., Wolverine Lk, Mi, 48390).

Due to the depressed Michigan economy/housing market and deteriorated condition of
the subject house, the corrected market value of the house is in the $275,000-3300,000
range.

The home is a ranch style on a concrete slab built in 1955 and added to in 1961. The
concrete slab foundation has a major crack/separation causing the sw end quarter of the
foundation/floor to sink 3-5 inches. This is evidenced by a 3-5 inch gap between the floor
moldings/baseboard heating and the sunken floor in the family room and one bedroom. It
has also caused the exterior bricks to separate/crack where this section of the house has
sunk. The house also needs a new roof (leaks in 3 main rooms), new windows (originals)
and updated bathrooms (al! original). These deficiencies are unknown to the county tax
assessor and are therefore not accounted for in the state equalized value for the house (the
state equalized value dropped due to market conditions $35k ($70k market value) just in
the last year).

The mentioned physical deficiencies are of major significance (especially the
cracked/sinking foundation) in further decreasing the actual market value when trying to
sell this house in a depressed buyers market. As a Realtor, I have done a market
evaluation based on current area homes for sale, the limited number of actual recent area
home safes and the needed repairs to help assess the current market value. If this home
were put into foreclosure and sold, the sale price would likely be in the $275,000 range
and assuming 12-15% sales/holding/cancessions/closing costs, the net would be in the
$233,750-$242,000 range. This might be optimistic as it may not be possible to find a
buyer in this market willing to pay that price and take on the cracked/sinking foundation
and the other needed major repairs. The Michigan economy/real estate market is stil!
declining (additional auto/related company layoffs are still coming) and is expected to be
one of the last states to recover.

It is hoped that a loan restructure based on a principal. im the $275k-3300k actual market
value be achieved that would be affordable for us and comparatively beneficial to ASC
also.

Thank you for your consideration.

dif [ote

Edward Barter
~ "013954 1 AB 0.360 fotsizm1a9se02429 0057 4 ACNDSS

RE: Recent inquiry

_ Sincerely, - | | 7 : | | Ue ee Rectved

  
 
  
 
 
  
     
   
  

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" . C Fax: (866) 453-6315 Jf
Telephone: (800) 842-7654 i
Correspondence: PO Box 10328
Des Moines, LA 50306
Hours of Operation: Mon - Fri ¥ Bam-Gpm In Your Time Zone} |

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EDWARD BART
37418 LEGENDS TR ©

FARMINGTON HILLS, MI 48331-1158 Lay lo§

Loan Number: 1127115312”
Property Address: 2309SelanoDrive
. Wolverine Lake ML48360

OA hig J

Dear Edward Barter: | 7 Mel Vortrteg tlt Bia

completing our research requests within 15 business days, on occasion we are unable to meet our
goal. Your request should be completed within 60 calendar days from the date we received your
request. .

| , fedurite, Dec 8, 0040.
Thank you for taking the time to contact our office regarding your mortgage loan. While we ain at ‘3 43 K

We sincerely appreciate your patience and understanding while your request is being processed and
researched. a

   

We're.happy to have you as our customer and look forward to helping you: with your financial needs. If
you have any questions, please contact: us at the. number listed in the ‘account information section of

this ietter.

America's Servicing Company

EXHIBIT K

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10. PagelD.59 Page 59 of 71

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ATT a
SHERIRF’S DEED ON MORTGAGE RORECHAaURSIN CLERURERISTEN oy HeEDS
THIS INDENTURE made the 8th day of o09* between ___ JOHN M. Roehrig a deputy sheriff in and for

Oakland County, Michigan, party of the first part, and US Bank National Association, as successor Trustee to Bank of America,
National Association, (successor by merger to LaSalle Bank National Association) as Trustee for Morgan Stanley Mortgage Loan
‘Trust 2006-7, 7515 Irvine ex Dr, Irvine, OH, 92618, party of the second part (heremafter called the grantec). .

Witnesseth, that whereas: Barter, 2 married man and Afana H. Barter, bis wife, whose address is 37418 LEGENDS TR,
Farmington Hills, MI 48331, made a ceztain mortgage to Mortgage Electronic Registration Systems, Inc., as nominee for lender and
lender's successors and/or assigns (hereinafter called “Mortgagee"), which was duly recorded in the office of the Register of Deeds of
Oakland County in Liber 36926, Page 51,Oakland County Records, Said mortgage is now held by US Bank National Association, as
successor Trustee to Bank of America, National Association, (successor by merper to LaSalle Bank National Association) as Trustee
for Morgan Stanley Mortgage Loan Trust 2006-7 by assignment.

WHEREAS, said mortgage contained a power of sale which has become operative by reason of default in the terms and
conditions :

of the mortgage; and ‘
th WHEREAS, no suit or proceeding at law or in equity has been instituted to recover the debt secured by the mortgage or any part

WHEREAS, by virtue of the power of sale, and pursuant to the statutes of the State of Michigan in such case made and provided,
a notice was duly published and a copy thereof was duly posted in a conspicuons place upon the premises described in the mortgage
that the premises, or some part of theta, would be sold on the 8th day of December, 2009*, at the public vendue, on the 1st floor
Main entrance to tho Courthouse in Pontiac, that being the place of holding the Circuit Court for Oakland County wherein the
premises are located; and .

WHEREAS, pursuant to said notice J did, at 10:00 am, local tinte, on the date stated shove, expose for sale at public vendue the
said lands and tenements described below, and on such sale did strike off and sell the said lands and tenements to the grantee for the
sum of Three Hundred Thirteen Thousand & 0/100 Dollars (5333.000.00), that being the highest bid therefore and the grantee
being the highest bidder; and : \

WHERBAS, said lands and tenements are situated in the Village of Wolverine Lake, Qakland County, Michigan, and are more
particularly described as: -

Lots 2,3 and 4, Wooded Shores Subdivision, as recorded in Liber 61, Page 6 and 6 A of Plats, Gaktend County Records.
—_—_— ee

et eawsmon (Ilo BASF #

Now, this indenture Witnesseth, that I, the Deputy Sheriff aforesaid, by virtue of end pursuant to the statute fa such case made and
provided, and in consideration of the sum of money so paid as aforesaid, have granted, conveyed, bargained and sold, and by this
deed do grant, convey, bargain, and sell unto the grantee, its successors and assigns, FOREVER, all the estate, right, title, and interest
which the said Mortgagor(s) had in said Jand and tenements and every part thereof, on 8th dey of December, 2005, that being the date
of said mortgage, or any time thereafter, to have and to hold the said lands and tenements and every part thercof te the said grantee,
its successors and assigns forever, to their sole and only use, benefit and behoove forever, as fully and absolutely as 1, the Deputy
Sheriff aforesaid, under the authority aforesaid, might, could, or ought to sell the same,

 

 

 

In witness whereof I bave set my hand and sea), Joh
. Deputy Sheriff in and for the Géunty of Oakland, Michigan :
’ State of Michigan
County of Oakiand bP
This Sheriff's Deed on M le was acknowledged before mo this 8th day of December, 2009", by A
—dohn M_Rashrig pes Sheriff for Oakland County, Michigan. C
Qe Bueqare Notary Public : County Revenue Required, 7 A
Name : Exempt from State Real Estate Transfer Tax
Oakiand County, Michizan pursuant to MCLA 207.526(¥}
My Commission Expires: _
Acting ia Connty , OK. - MH
Adjourned from July 21, 2009 to Deéermber 8, 2009 by posting a notice of adjournment at the place of sale for Oakland County,
Michigan, .
File Number. 306.2799 Loan Type: CONV Anita Engasser
_ Notary Public, State of Michigan
ST REALESTATE County of Oakland
ICH 25 07/28/2015
OMMLAND ;
12/09/2003 ‘Maklond

 

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EXHIBIT L
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed.04/13/10 “PagelD.60 . Page 60 of 71

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NOWN-MILIFARY AFFIDAVIT

State of Michigan

County of Oakland .

¥

The undersigned, beg first duly sworn, states that upon investigation she/he is informed and believes that none of the persons named
in the notice attached to the sheriff's deed of mortgage foreclosure, nor any person upon whom they or any of them were dependent,
were in the military service of the United States at the time of sale or for six months Prior thereto; nor the present grantee(s),

The undersigned further states that this affidavit is made for the purpose of preserving a record and clearing title by virtue of The
Servicemembers Civil Relief Act of 2003, as amended.
7

  
   

Nicholas Gotnilinski

Acting in Oakland County, Michigan
Expires: 07/16/2012

AFFIDAVIT OF AUCTIONEER and CERTIFICATE OF REDEMPTION PERIOD
State of Michigan -

8, ,
County of Oakland
John M: Roehrig 4 belng first duly swom, deposes and says that he is a Deputy Shesiff of said Oakland County; that

he/she acted as Auctioneer, and made dhe sale as described in the annexed Deed pursuant to the annexed printed notice; that said sale
was opened at 10:00 a.m, local time, on the &th day of December, 2009, public vendue, on the Ist floor Main entrance to the

in Pontiac, that being the place of holding tho Circuit Court for Oakland County, and said sale was kept open for the space
of one hour; that the highest bid far the lands and tenements therein described was Three Hundred Thirteen ‘Thousand oo
Dollars ($313,000.00): made by US Bank Nationa) Association, as successor Trustee to Bank of America, National Association,
(successor by merger to LaSalle Bank National Association) as Trustee for Morgan Stanley Morigage Loan Trust 2006-7, that said
sale was in all respects open end fair; and that he/she did strike off and sell said lands and tenements to said bidders, which purchased
the said lands and tenements fairly, and in good faith, as deponent verily believes.

- 1DO HEREBY CERTIFY that the within Sheriff's Deed will become operative st the expiration of the redemption period, December

8, 2010, unless seid date falls on a weekend, at which point the redeeming party or anyone claiming under him, will have until 5:00pm
the following Monday to perfect their redemption; OR the property is determined abandoned pursuant to MCLA 600.3241a, in which
case the redemption period will be 30 days from the date of sale, OR should the Sheriff's Deed not be recorded within 20 days from
the date of the foreclosure sale, in which case the redemption period wiil be 12 months from the date of recording. The foreclosing
Mortgagee can rescind the sale in the event a 3rd party buys the property and there is a simultancors resolution with the borrower,

y= John M. Roehrig
Oakland Connty, Michigan

Subscribed and swom to befare me this &th day of December, 2009.

Notary Public Anita Engasser
My comma chem Notary Publi, State of Mlcnigan
Drafted by and when recorded return to: County of Oakland
Marshall R. Esancs : My Commisston Expires o7r2a/2015
PO. Berson Oo Aciing in the county ofQoXlon

Troy, MI 48007-5041
(248) 502-1400 File Not 306.2799

ATTN REGISTER OF DEEDS: Please send all Redemption notifications and funds collected in your office to Orlans Associates,
P.C., P.C. Box 5041, Troy, Ml 48007-504].

ATTN PURCHASERS: This sale may be rescinded by the foreclosing mortgagee. In that event, your damages, if any, shall be
limited solely to the return of the bid amount tendered at sale, Plus interest. Please be advised that all 3 party bidders are responsible
for preparing and recording the Sheriff's Deed. ORLANS ASSOCIATES, P.C. Hereby expressly disclaims all liability relating to the
foreclosure, preparation and recording of the Sheriff's Deed. .
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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10° PagelD.62 .Page 62-of 71 -
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AFFIDAVIT DECLARING REDEMPTION DESIGNEE

STATE OF MICHIGAN)
88)
COUNTY OF OAKLAND)

Marshall R. Isaacs, being first duly sworn, deposes and says:

1, That he is the duly authorized attomey US Bank National Association, as successor Trustee to Bank of America,
National Association, (successor by merger to LaSalle Bank National Association} as Trustee for Morgan Stanley
Mortgage Loan Trust 2006-7 and is familiar with the facts set forth herein.

2. This affidavit is being filed to declare the redemption amount in relation ta the property located In the Village of
Wolverine Lake, County of Oakland further described a3: .

Lots 2,3 and 4, Wooded Shores Subdivision, as recorded In Liber 61, Page 6 and 6 A of Plats, Oakland County
Records,

Commonly Known as: 2309 Solano Drive Tax ED #: 17-22-451-041

“3. Gnor about December 8, 2005 & mortgage was executed between Edward Barter, a married man and Alana H.
Barter, his wife to Mortgage Electronic Registration Systems, Inc., as nominee for lender and lender's successors
and/or assigns for $340,000.00 on December 8, 2005, recorded January 10, 2006 in Liber 36926, Page 51, Oakland -
County Records, . .

4. Said mortgage is currently held by US Benk National Association, as successor Trostee to Bank of America,
National Association, (successor by merger to LaSalle Bank National Association) as Trustee for Morgan Stanley
Mortgage Loan Trust 2006-7.

5. Said mortgage is scheduled for foreciosure on the 8th day of December, 2009 for, $313,000.00. .

6. Redemption must include $313,000.00, plus interest at the rate of 6.25% from December 8, 2009; at a per diem
amount of $53.60; phis additional expenses for Taxes: Redemption of Senior Liens; Condominium Assessments;
Homeowner Assessnients; Community Association Assessments; or Premiums for Insurance Policies and Redemption
Servicing Fee. An authorized compatation of the above can be received only front the designee listed below.

7. The Redemption Servicing Fee, as allowed by Michigan Statue is $290.00, plus recording costs. The servicing
fee is payable to Orlans Associates, P.C. and will be added to the redemption amount. :

TO ORDER A REDEMPTION COMPUTATION CALL:
ORLANS ASSOCIATES, P.C,, REDEMPTION DEPARTMENT
P.O. Box $041 '

Troy, MI.48007-5401

248-502-1400

8. US Bank National Association, as successor Trustee to Bank of America, National Association, (successor by
merger to LaSalle Bank National Assoctation) as Trustee for Morgan Stanley. Mortgage Loan Trust 2006-7 hereby
appoints Orlans Associates, F.C, as its designee and pursuant to MCLA 600.3240 declares that a computation of the
‘amount to redeem done by any other than Orlang Associates, P.C. is subject to the designee’s audit of said .
computation and such redemption funds are subject to rejection. :

9. A written, official computation of the redemption amount will be prepared by Orlans Associates, P.C., within a
reasonable period of time for any and ali who request such e computation.

- 10. Any redemption made without a written, current, computation provided by Orlans Associates, P.C. will be subject
to audit and potential subsequent rejection of said funds.

11. Attention: REGISTER OF DEEDS;.DO NOT accept redemption funds without a written, current redemption
computation from Orlans Associates, P.C. Acceptance of funds without an Orlans Associates, P.C. computation will
subject that redemption to an audit and potential subsequent rejection of the redemption funds.
Case 2: 10- “CV- 11476-DPH-RSW. ECF No. 1 filed 04/13/10 -PagelD. 63 Frage 63 of a
ee pen 1685 PEG EY

42. The within Sheriff's Deed will become operative at the expiration of the redemption period, December 8, 2010,
untess said date fatls on a weekend, at which point the redeeming party or anyone claiming under him, will have until
5:00pm the following Monday to perfect their redemption; OR the property is determined abandoned pursuant to
MCLA 600.324 la, in which case the redemption period will be 30 days from the date of sale, OR should the Sheriff's

° Deed not be recorded within 20 days from the date of the foreclosure sale, in which case the redemption period will be
12 months from the date

Further affiant saypth rot.

 

 

Subscribed and swom to before me this Ist day of December, 2009, by Marshall R. Isaacs Attorney for US Bank

   

  

: National Association, as suogessoe Trustee to Bank of America, Nationa] Association, (successor by merger to
ap f Vil nj as Trustee for Morgan Stanley Mortgage Loan Trust 2006-7

 

Drafied by and when recorded return to: Date Dated: (2/01/09
Marshall R, Isaacs . .
Orlans Associates, P.C,

P.O. Box 5041

Troy, Michigan 48007-5401

(248) 07-1400 File Number: 306.2799

F

Oakland County
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed’04/13/10 PagelD.64 Page 64 of 71

ASCH

AMERICAS SEAVICINGE COMPANY

PO Box 10328
Des Moines, IA 50306-0328

January 12, 2010

Edward Barter —
37418 Legends Tr
Farmington Hills, Ml 48334

. Dear: Edward Barter:
RE: Loan Number 106-1 127115312

Thank you for contacting ‘America's Servicing Company (ASC) regarding your mortgage loan, |
‘ have reviewed your correspondence dated November 29, 2009 and would like to provide you with
the details of my research. ,

| can confirm that it is our practice to continue working with our borrowers who wish to explore .
workout options until the date a foreclosure sale is held. We may at times agree to postpone the 7
date of a foreclosure sale as a result of these negotiations; however, foreclosure action isnot /* LZ, ia
halted or suspended until a viable plan has been approved and the first payment of thatpianis “PI
teceived. Since no plan was established before the foreclosure sale date of December 08, 2009 +: a
our action is valid and we must t respectfully pur request to rescind the foreclosure sale, 2—22—=-
Bye sre afremed of oak b ded:
Any questions regarding the foreclosure proceedings ora a redemption period can be EET

  

 
 
 
 

 

 

 
   

‘with the foreclosure attomey Orlans Associates, P.C. at 248-457- 4000.

As our valued customer, we appreciate the opportunity to assist you. If you have additional “ a pL
questions, please call our Customer Relations Department at (800) 842-7654. A representative

will be able to assist you Monday through Friday between the hours of 8 a.m. and 6 p. m., in your
time zone.

Sincerely,

Mattea Green
.Written Correspondence

This commmnication is.an attempt to collect a debt. und i any information obtained will be used for that purpose. However, if you have received a
discharge of this debt in bankruptcy or are current mpt to collect a debt as this company
has a security interest in the property and wilt only

_ BC003/trz
| EXHIBIT M

    
    
   
     
Page 65 of 71

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Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.66 Page 66 of 71

Exhibit B
Oakland County - Case Summa
Case 2: 0-Gv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.67 Pag

Oakland County:

Michigan

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Case Summary Printer Friendly Version

 

Case Number 2010-108456-CH BARTER EDWARD vs. US BANK
Judge Name MARTHA D. ANDERSON
Case Filed 03/11/2010

Case Disposed

Case E-filed YES
Register of Actions View Parties New Search
Date Code Description
03/11/2010 Cc COMPLAINT FILED Order Document
03/11/2010 i SUMMONS ISSUED Order Document
C County Home | InfoA-Z | Departments | Jobs | Online Services a
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http://www .oakgov.com/crts0004/cs/docket.jsp?cn=2010108456CH&p=BARTER EDWARD vs. ... 4/12/2010
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.68 Page 68 of 71

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

EDWARD BARTER and
ALANA BARTER,

Plaintiffs,
U.S.D.C. #
VS.

Hon.

 

US BANK, N.A.,
AMERICA’S SERVICING COMPANY,
Lower Case No. 10-108456-CH

 

Defendants.
Jeffrey H. Bigelman (P61755) Matthew J. Boettcher (P40929)}
OSIPOV BIGELMAN, P.C. PLUNKETT COONEY
Attorneys for Plaintiffs Attorneys for Defendants
20700 Civic Center Drive, 38505 Woodward Ave., Suite 2000
Suite 310 Bloomfield Hills, MI 48304
Southfield, MI 48076 (248) 901-4035
(248) 663-1800 (248) 901-4040 - fax
(248) 663-1801 - fax mboettcher@plunkettcooney.com

 

jhb@osbig.com

 

CERTIFICATE OF SERVICE

{ hereby certify that on April 13, 2010, I electronically filed the
foregoing paper with the Clerk of the Court using the ECF system and
that I have mailed by United States Postal Service to any parties that are
not ECF participants.
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.69 Page 69 of 71

DATED: April 13, 2010

PLUNKETT COONEY

By:/s/ Mathew J. Boettcher
Maithew J. Boettcher (P40929)
Attorneys for Defendants
Plunkett Cooney

38505 Woodward Ave.

Ste. 2000

Bloomfield Hills, MI 48304
248-901-4035

mboettcher@plunkettcooney.com

P40929
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.70 Page 70of 71

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

EDWARD BARTER and
ALANA BARTER,

Plaintiffs,

U.S.D.C. #
VS.

Hon,

 

US BANK, N.A.,
AMERICA’S SERVICING COMPANY,

Lower Case No. 10-108456-CH

 

Defendants.
Jeffrey H. Bigelman (P61755) Matthew J. Boettcher (P40929)
OSIPOV BIGELMAN, P.C. PLUNKETT COONEY
Attorneys for Plaintiffs Attorneys for Defendants
20700 Civic Center Drive, 38505 Woodward Ave., Suite 2000
Suite 310 Bloomfield Hills, MI 48304
Southfield, MI 48076 (248) 901-4035
(248) 663-1800 (248) 901-4040 — fax
(248) 663-1801 — fax mboettcher@plunkettcooney.com

 

jhb@osbig.com

 

VERIFICATION
Case 2:10-cv-11476-DPH-RSW ECF No.1 filed 04/13/10 PagelD.71 Page 71 of 71

MATTHEW J. BOETTCHER, first being duly sworn, states that he is
the attorney for Defendants, and that the foregoing Notice of Removal is
true in substance and in fact to the best of his knowledge, information

and belief,

PLUNKETT COONEY

By:/s/ Mathew J. Boettcher
Matthew J. Boettcher (P40929)
Attorneys for Defendants
Plunkett Cooney
38505 Woodward Ave.

Suite 2000
Bloomfield Hills, MI 48304
248-901-4035
mboettcher@plunkettcooney.com
P40929

DATED: April 13, 2010

Subscribed and sworn to before me
On April 13, 2010.

/S/ MARY ELLEN KISELL

Notary Public

Wayne County, Michigan

My Commission Expires: 09-05-2012

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